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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------X                 9/21/2020
MONDAIRE JONES, et al.,              :
                                     :
                    Plaintiffs,      :   20 Civ. 6516 (VM)
                                     :
     - against -                     :   DECISION AND ORDER
                                     :
UNITED STATES POSTAL SERVICE, et al.,:
                                     :
                                     :
                    Defendants.      :
-------------------------------------X
VICTOR MARRERO, United States District Judge.

     Plaintiffs    Mondaire     Jones,       Alessandra    Biaggi,     Chris

Burdick, Stephanie Keegan, Seth Rosen, Shannon Spencer, Kathy

Rothschild, Diana M. Woody, Perry Sainati, Robert Golub, Mary

Winton Green, Marsie Wallach, Matthew Wallach, Mac Wallach,

Carol Sussman, and Rebecca Rieckhoff (“Plaintiffs”) filed

this action against defendants United States Postal Service

(“USPS” or “Postal Service”); Louis DeJoy, as Postmaster

General (“DeJoy”), and Donald J. Trump, as President of the

United States (“President,” and together with the Postal

Service and DeJoy, “Defendants” or the “Government”). (See

“Amended   Complaint,”     Dkt.        No.     36.)     Plaintiffs     seek

declaratory relief and a preliminary injunction mandating

that the Postal Service take certain actions to ensure the

timely delivery of their absentee ballots in the upcoming

national   elections    being     held       November     3,   2020.    (See

“Motion,” Dkt. No. 19-1; “Notice of Motion,” Dkt. No. 19.)


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The Court held a hearing on September 16, 2020, and heard

witness testimony. For the reasons that follow, the Court

GRANTS in part the Motion.

                                    Introduction

      Nothing is more essential to a true democracy than the

right    to   vote.       Where   that      right     is    constitutionally

guaranteed and exercised by citizens through free and fair

elections protected by government authority, democratic rule

thrives. Conversely, impairing the franchise, or imposing

undue burdens on the ability of voters to cast ballots for

their elected leaders, necessarily threatens democracy and

erodes the underpinnings of a republican form of government.

For   that    reason,     this    country’s     founding      constitutional

principles have designed and enshrined by law the means to

ensure    free     and     fair     balloting       at     every    level    of

representative government. To that end, our system has made

affirmative provisions not only to ensure maximum ease for

citizens to gain access to the ballot box, but also to remove

obstacles     to   voting     and     repulse       attempts,      whether   by

coercion, dilution, discrimination, or other like deleterious

means, to interfere with voting rights.

      One of the evident ways by which our society fosters and

guarantees       voting     rights     is     by     absentee       balloting,

accommodating the exceptional needs of citizens unable to


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vote in person for various legitimate reasons -- illness,

travel, education or employment out of the jurisdiction, or

military or diplomatic service. Protecting the franchise of

such citizens, and enforcing effective rules to do so, should

be no less an essential obligation of the government than is

securing voting in person. In fact, the law makes no such

distinction. Instead, all voters, regardless of whether they

submit their ballots in person or by mail, have a right to

have their votes counted and their voices heard. The case

before the Court presents these principles.

        The context in which this litigation arises is essential

to an analysis and resolution of the controversy. The entire

world is now in the grip of a catastrophic pandemic caused by

the coronavirus, a phenomenon that has inflicted a heavier

toll of illness and death on the United States than on any

other     nation.   By   recent   government    count,   COVID-19   has

already infected over 6.7 million Americans and claimed over

198,000 lives.1 In its wake, and pertinent to the action

before the Court, the disease has engendered widespread fear

that conducting elections requiring voters to appear at the

polls to cast their ballots in person, there having to occupy

enclosed spaces through which thousands of people would pass


1 Centers for Disease Control and Prevention, CDC COVID Data Tracker,
https://covid.cdc.gov/covid-data-tracker/#cases_casesinlast7days (last
accessed Sept. 19, 2020).


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throughout the day and handle the same voting equipment, would

produce conditions conducive to the spread of the illness. To

address these concerns, at least 22 states and the District

of Columbia have changed their laws to encourage voters to

cast their ballots by mail; 34 states and the District of

Columbia already permitted anyone to vote by mail, and only

five states require an excuse (beyond concerns related to

COVID-19).2 There is no dispute that this development will

bring about a predictable effect at issue here: a significant

surge in the volume of election mail the USPS is being called

upon to handle.

        These   circumstances      present    unique   challenges       and

opportunities for public officials, not only those in charge

of the Postal Service but also leaders of the rest of the

government,      federal    and    state.    The   crisis   demands,    as

Plaintiffs      here   urge,      extraordinary    measures   and      firm

commitment to ensure that all citizens wishing to exercise

their right to vote are able to do so without needing to

confront an untenable choice: risk contracting a potentially

fatal illness by voting in person, or foregoing their right

to vote in a presidential election. That prospect likely will



2 Kate Rabinowitz & Brittany Renee Mayes, “At Least 84% of American Voters
Can Case Ballots By Mail in the Fall,” Wash. Post (Sept. 17, 2020),
https://www.washingtonpost.com/graphics/2020/politics/vote-by-mail-
states/ (last accessed Sept. 19, 2020).


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come to pass if a mail-in balloting option is available but

gives no reliable assurance that citizens could cast their

ballots and that their votes would be delivered to election

authorities in time to be counted.

        Against this backdrop, this case raises some central

questions. Some are philosophical and implicate the Postal

Service’s core mission. The Postal Service has developed a

proud reputation for its paramount resolve, memorialized in

the famous inscription carved on the pediment of the General

Post Office Building in New York City, to deliver the mail

despite any obstacles.3 Postal operations have also been

guided by the ethic and spirit of the language of the USPS’s

charter mandate. That statute evinces a legislative design

that     the    entity   is   not   just    another    government   agency

rendering a necessary public service, but one that performs

a vital national purpose: to “bind the Nation together.” The

nation’s extraordinary efforts to deliver election mail from

members of the armed forces during the Civil War and World

War     II     provide   compelling       examples    of   that   ingrained

commitment.

        Beyond these issues implicating the USPS’s core values,

this     case     presents    various      operational     and    financial


3 “Neither snow nor rain nor heat nor gloom of night stays these couriers
from the swift completion of their appointed rounds.” Herodotus, The
Persian Wars, Bk. 8, ¶ 98 (trans. George H. Palmer).


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concerns. How has the Postal Service responded to these

developments? Specifically, are the agency’s organization,

operations, and finances adequate to meet the unprecedented

difficulties posed by the combined impact on mail service of

the pandemic and the greater volume of absentee or mail-in

ballots that voters will cast in a few weeks?

      To these questions Plaintiffs here answer “No.” They

charge that in fact the Postal Service has retreated from the

dedication to its institutional ethic and historical culture

of delivering the mail as an overarching national function.

As    evidence,    Plaintiffs       point     to     the   vision         of   a

“transformative initiative” recently instituted by DeJoy upon

his assumption of his office -- measures that included, for

example,    reduction     of    overtime    pay,    elimination      of    mail

sorting machines on a larger scale than previously done since

2016, directing mail trucks to leave as scheduled, even if it

would entail leaving mail behind for delivery another day.

According to Plaintiffs, such policy and operational changes

have redefined and rechanneled the USPS’s mission to follow

the   business    model   of    a   private   enterprise.         Under    this

approach,    according     to    Plaintiffs,       the   Postal    Service’s

commitment to delivering all of the mail may be sacrificed in

the name of efficiency. As evidence, Plaintiffs point out

that, correlating with DeJoy’s postal reforms, within weeks


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of the adoption of the new approach the service standards for

First-Class Mail declined and have not yet fully recovered to

reach what they were before the initiatives.

        Adding complication to the situation, Plaintiffs call

attention to a statement made by President Trump’s deputy

campaign manager Justin Clark, quoted as having said that

“[t]he President views vote by mail as a threat to his

election.”      And the President himself made a statement that

was interpreted as urging voters who mail in ballots to also

vote in person, in order to test the system.4

        Accordingly, in the midst of the exceptional demands

presented      by   a    national      health     crisis,     and    confronted

simultaneously          with   a     presidential        election    that    will

generate an unprecedented surge of mail ballots, rather than

focusing efforts and resources on guaranteeing that citizens’

apprehensions about the coronavirus crisis would not impede

exercise of their right to vote, the Postal Service, the

Postmaster      General,       and    the    President     have     made    public

statements and taken steps manifesting a somewhat ambiguous

course. They have not provided trusted assurance and comfort

that     citizens   will       be    able    to   cast    ballots    with    full



4 Maggie Haberman & Stephanie Saul, “Trump Encourages People in North
Carolina to Vote Twice, Which Is Illegal,” N.Y. Times (Sept. 8, 2020),
https://www.nytimes.com/2020/09/02/us/politics/trump-people-vote-
twice.html (last accessed Sept. 19, 2020).


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confidence that their votes would be timely collected and

counted. Rather, as detailed below, their actions have given

rise to management and operational confusion, to directives

that tend to generate uncertainty as to who is in charge of

policies that ultimately could affect the reliability of

absentee ballots, thus potentially discouraging voting by

mail. Conflicting, vague, and ambivalent managerial signals

could also sow substantial doubt about whether the USPS is up

to the task, whether it possesses the institutional will power

and commitment to its historical mission, and so to handle

the exceptional burden associated with a profoundly critical

task   in   our    democratic    system,   that   of   collecting   and

delivering election mail a few weeks from now.

       The Court is persuaded that the circumstances Plaintiffs

portray     in    their   complaint,    sufficiently    supported    by

evidence on the record of this proceeding, warrant relief.

The right to vote is too vital a value in our democracy to be

left in a state of suspense in the minds of voters weeks

before a presidential election, raising doubts as to whether

their votes will ultimately be counted.

                            I.    BACKGROUND

       A. FACTUAL BACKGROUND AND PROCEDURAL HISTORY

       The Postal Service operates over 31,000 Post Offices,

204,274 delivery vehicles, and more than 8,500 pieces of


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automated processing equipment. (See “Tinio Decl.,” Dkt. No.

24, Ex. 1 at 6.)     It delivers “48 percent of the world’s mail

volume and more packages to the home than any other business.”

(Id.) But, while it is a “fundamentally strong organization,”

the Postal Service is “not financially strong.” (Id.) Eroding

mail volumes, universal service obligations, and legislative

mandates strain its financial stability. (Id.)

       DeJoy became the country’s 75th Postmaster General on

June 15, 2020. He has stated that he views his role as an

opportunity to help the Postal Service “to better serve the

American    public   and   also   to     operate     in    the      financially

sustainable manner.” (Tinio Decl. Ex. 5, at 5.)

      Before his installment as Postmaster General, DeJoy was

reported to have made substantial donations to President

Trump’s    re-election     campaign.     (See    Id.      at    48.)     Further,

Plaintiffs    note   that    while       the    Postal         Service    is   an

independent agency, “Secretary of the Treasury Mnuchin and

White House Chief of Staff Mark Meadows have been in close

contact with both the USPS Board of Governors and Postmaster

General DeJoy.” (See “Jamison Decl.,” Dkt. No. 19-2, ¶ 22.)

Plaintiffs suggest that, in an effort to curtail the perceived

threat posed by mail-in voting, “[t]he Trump administration

is   intentionally    involving    itself       in   day       to   day   postal

operations.” (Id. ¶ 27.)


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     Plaintiffs comprise a collection of individuals from

States across the country, including a Democratic candidate

for Congress from New York and several New York state and

local   political    candidates,       each      with   interests      in   the

accuracy and integrity of the November 2020 national election

(the “Candidate Plaintiffs”); and numerous voters (the “Voter

Plaintiffs”) who either plan to vote by mail for reasons

related to the COVID-19 pandemic -- broadly: (1) travel

restrictions that prevent voters from returning to their

states of residence, and (2) exposure risks that render in-

person voting dangerous -- or, in the case of Spencer, have

chosen to risk infection and vote in person because of fears

the USPS cannot timely handle Election Mail.

     Plaintiffs      filed    a     complaint     on    August   17,    2020.

(“Complaint,” Dkt. No. 1.) On September 2, 2020, Plaintiffs

filed   their   Motion.      (See    Motion;     Jamison    Decl.;      “Jones

Decl.,” Dkt. No. 19-3, “Biaggi Decl.,” Dkt. No. 19-4, “Barrios

Decl.,” Dkt. No. 19-5; “Mac Wallach Decl.,” Dkt. No. 19-6;

“Matthew   Wallach    Decl.,”       Dkt.   No.    19-7;   “Marsie      Wallach

Decl.,” Dkt. No. 19-8; “Rieckhoff Decl.,” Dkt. No. 19-9;

“Rosen Decl.,” Dkt. No. 19-10; “Sussman Decl.,” Dkt. No. 19-

11; “Winton Green Decl.,” Dkt. No. 19-12; “Rothschild Decl.,”

Dkt. No. 19-13; “Green Decl.,” Dkt. No. 19-14.)




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        On September 8, 2020, the Government opposed the Motion.

(See “Opposition,” Dkt. No. 22; “Barber Decl.,” Dkt. No. 23;

Tinio Decl.; “Vo Decl.,” Dkt. No. 25; “Stasa Decl.,” Dkt. No.

26; “Prokity Decl.,” Dkt. No. 27; “Glass Decl.,” Dkt. No. 28;

“DeChambeau Decl.,” Dkt. No. 29; “Curtis Decl.,” Dkt. No. 30;

“Couch Decl.,” Dkt. No. 31; “Colin Decl.,” Dkt. No. 32;

“Cintron Decl.,” Dkt. No. 33.”

        Plaintiffs filed the Amended Complaint on September 9,

2020. The Amended Complaint brings claims under the First and

Fifth Amendments of the Constitution against Defendants.5 On

September 10, 2020, Plaintiffs filed a reply. (See “Reply,”

Dkt. No. 38; “Jamison Reply Decl.,” Dkt. No. 38-1; “Barrios

Reply Decl.,” Dkt. No. 38-4; “Spencer Decl.,” Dkt. No. 38-

5.)

        Before the Court held the hearing in this matter, the

Government submitted updated performance data and additional

declarations for the Court’s consideration. (See “Kochevar



5 Plaintiffs’ Amended Complaint brings Count One under 42 U.S.C. Section
1983. Defendants correctly note that this statute does not provide a cause
of action against federal officers. See Kingsley v. Bureau of Prisons,
937 F.2d 26, 30 n.4 (2d Cir. 1991). The Court understands Plaintiffs to
be seeking relief under the Court’s general equitable authority to fashion
a remedy for wrongs committed by government officials. See Armstrong v.
Exceptional Child Center, 575 U.S. 320, 327 (2015) (“The ability to sue
to enjoin unconstitutional actions by state and federal officers is the
creation of courts of equity, and reflects a long history of judicial
review of illegal executive action, tracing back to England.”) (emphasis
added). Because Defendants were on notice as to the nature of the claims
against them, the Court sees no reason to hold that the claims fail as a
matter of law, but will permit Plaintiffs to submit a proposed second
amended complaint to correct the cause of action.


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Decl.,” Dkt. No. 45; “Supp. Cintron Decl.,” Dkt. No. 46-1;

“Supp. Curtis Decl.,” Dkt. No. 46-2.) At the hearing, the

Court heard testimony from Julia Bryan, a volunteer for

Democrats Abroad; Jose Barrios; Mark Jamison, Plaintiffs’

expert witness; Robert Cintron (“Cintron”); Angela Curtis

(“Curtis”);      and   Justin   Glass     (“Glass”).      Following   the

hearing, Plaintiffs filed an additional exhibit. (See “Supp.

Green Decl.,” Dkt. No. 47-1.)

       B. CHALLENGED POSTAL SERVICE ACTIONS

       Central   to    the   Complaint    are   a   handful   of   recent

“dramatic and profound” policy changes within USPS, including

(1) a prohibition on overtime, (2) a ban on late or extra

trips even if deliveries are not fully completed, (3) a hiring

freeze, (3) a policy titled “Expedited to Street/Afternoon

Sortation” (“ESAS”) under which carriers are to spend minimal

time in the office before departing and are prohibited from

sorting mail until the afternoon when they have returned, and

(4) widespread equipment reduction, removal, or destruction.

       On July 10, 2020, DeJoy participated in a teleconference

with   area   vice     presidents   and   members    of    headquarters.

Defense witnesses Cintron, Vice President of Logistics, and

Curtis, Vice President of Retail and Post Office Operations,

both participated in the teleconference and testified that




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the subject was various initiatives to be implemented. These

changes are outlined below.

                 1. Reduction of Late and Extra Trips

        During    the    July    10    teleconference     with       DeJoy,

participants discussed a new policy restricting late and

extra trips.       According to Cintron, a “late” trip is a trip

that departs after its scheduled departure time. (Tr. 45:18-

22.6) An “extra” trip would be a trip made by “another piece

of transportation” to move “additional volume.” (Tr. 45:24-

46:2.)      Cintron insisted that the statements made regarding

late and extra trips at the July 10, 2020 meeting did not

amount to a “ban,” but they did indicate that the “aspiration”

was “not to have either one of those.” (Tr. 50:17-25.) Curtis

echoed these sentiments, explaining that the elimination of

late and extra trips was a goal, but that she understood it

would not be achieved “overnight.” (Tr. 75:5-8.)

        Apparently, however, many postal workers received a

different message. Following the teleconference, an area vice

president created a “Standup Talk” document to memorialize

the discussion that occurred on July 10, 2020. (Tr. 49:21-

50:8; Amended Complaint Ex. 1.) The July 10, 2020 document

titled “Mandatory Standup Talk: All Employees,” outlines a



6
 All citations to “Tr.” refer to the transcript of the hearing this Court
held on September 16, 2020. (See Dkt. Minute Entry Dated Sept. 16, 2020.)


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“long overdue” “operational pivot,” including certain changes

to prior procedures. First, the memo explains that: (1) “late

trips” and “extra trips are no longer authorized or accepted,”

and (2) “[c]arriers must begin on time, leave for the street

on time, and return on time.”7 The memo acknowledged that

“[o]ne aspect of these changes that may be difficult for

employees is that – temporarily -- we may see mail left behind

or mail on the workroom floor or docks . . .” but assures

that      “the      delayed   mail    volumes     will    soon       shrink

significantly.”

        Likewise, a banner hanging in the Portland, Oregon plant

on      September     6,   2020   proclaimed,     “No    Employee      has

Authorization to Hold Trucks,” along with further directives

stating, “Make sure every single employee in our building

understands - All Trips Depart On Time.” (Jamison Reply Decl.

Ex. 1.) And, a post office operations manager in Ohio drafted

a July 14, 2020 PowerPoint presentation regarding DeJoy’s

expectations for cost savings, including a directive that

“[t]he plants are not to send mail late,” and “[i]f the plants



7
 On July 16, 2020, a similar initiative, Expedited to Street/Afternoon
Sortation (“ESAS”), was introduced. (Amended Complaint Ex. 2.) The
initiative was designed to “reduce[] morning office time to allow
carriers to get on the street earlier.” Under the new policy, carriers
were directed to spend minimal time in the office in the morning and
“work any unsorted mail into the delivery sequence for delivery the
next scheduled day,” after returning from the street. This program has
been suspended as part of a union grievance process. (Motion at 2,
n.3.)


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are not on time they will hold the mail for the next day.”

(Supp. Green Decl. at 3; Tr. 73:19-74:8.)

      While Curtis was “appalled” by this July 14 PowerPoint

presentation, which she considered a misrepresentation of

directives from the Postmaster General (Tr. 73:22), these

circumstances reflect evidence of conflicting signals or

confusion, at the very least that different Postal Service

employees understood their instructions differently. And, at

any rate, a reduction of late and extras did in fact occur.

Glass testified that because of the initiative, “[w]e have

had a significant reduction in both lates and a reduction in

extra services.” (Tr. 47:23-48:3.)

                 2. Limits on Overtime

      Jose Carlos Barrios (“Barrios”), a Mail Processing Clerk

at   the   San   Antonio   Main   Post   Office   with   33   years   of

experience, testified that overtime was being cut back. This

measure was also listed in the July 14 PowerPoint as one of

DeJoy’s expectations. (Supp. Green Decl. at 1 (“POT will be

eliminated. This is not cost effective and it will be taken

away. Overtime will be eliminated. Again we are paying too

much in OT and it is not cost effective and will soon be taken

off the table.”).) DeJoy, however, testified before the House

Oversight and Reform Committee that he “never put a limitation

on overtime,” and that overtime could continue to be approved


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“as needed.” (Tinio Decl. Ex. 14, at 25; see also Colin Decl.

¶ 4.) Nonetheless, he stated that he intended to issue

guidance on when managers could approve overtime, presumably

to clarify, given evident confusion on the subject. (See id.

at 27.)

              3. Changes in Hiring

     USPS    experienced    staffing     shortages   because   of    the

COVID-19    pandemic.     John   Prokity   (“Prokity”),    manager    of

Workforce Planning Insights & Analytics, explained that the

Postal Service adjusted its hiring processes because of these

pandemic-related staffing shortages. (Prokity Decl. ¶¶ 4-7.)

Prokity acknowledged that USPS has instituted a hiring freeze

for management-level positions, but this did not affect mail

carriers, mail handlers, and clerks. (Id. ¶ 6 n.1.)

     Plaintiffs’ expert Mark Jamison (“Jamison”), a former

Postal Service employee with over 36 years of experience,

explained that for the non-management-level positions, USPS

agreed to relax certain hiring rules, including the union-

negotiated limitation on temporary employees. That change has

“led to the addition of more than 88,000 new untrained

temporary employees.” (Tr. 33:8-12; see also Tr. 22:22-25.)

Glass,     Manager   of     Operations     Industrial     Engineering,

confirmed this statement, testifying that the USPS has hired

untrained temporary employees to fill vacancies, and further


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confirming that those workers would be handling Election

Mail.8 (Tr. 108:9-21.)

                 4. Equipment Destruction and Removal

        In connection with Plaintiffs’ claims about destruction

and removal of equipment, two items are at issue: mail

collection boxes and targeted reductions of 18 to 20 percent

in mail sorting machines.9 Regarding the mail collection

boxes, Jennifer Vo (“Vo”), director of City Delivery and

Postal Service Headquarters and USPS employee of 26 years,

testified that blue collection boxes are regularly removed

based on volume to “ensure that mail collection within areas

served by letter carriers is accomplished in a cost-efficient

manner, while still meeting customers’ needs.” (Vo Decl. ¶

5.)     However,       “[p]ursuant   to    Postmaster   DeJoy’s      recent

directive,       the    Postal   Service     has   stopped    removal    of

collection boxes . . . not to resume until after the November

Presidential election.” (Vo Decl. ¶ 18.)

        Other defense witnesses gave similar accounts regarding

the sorting equipment reductions. Michael Barber, soon to be

the     USPS   Vice     President    of    Processing   and   Maintenance


8
 The term “Election Mail” refers to any item mailed to or from
authorized election officials that enables citizens to participate in
the voting process, including voter registration materials, absentee or
mail-in ballot applications, polling place notifications, blank
ballots, and completed ballots. (Glass Decl. ¶ 3.)
9 Reduction targets vary by type of machine. (Amended Complaint Ex. 3,

at 2.)


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Operations, with over 29 years of experience within the postal

service,       testified   that,   “[d]ue     primarily        to    the   large

decline in mail volume over the past decade, we have more

machines than are needed to process the mail.” (Barber Decl.

¶ 5.) Barber described how the USPS monitors utilization and

performance data in real-time. He pointed to current national

utilization       levels   ranging       between    35   and    65    percent,

concluding that even if every voter chose to vote by mail,

there would still be excess processing capacity. (Id. ¶ 6.)

Jason        DeChambeau,   Headquarters       Director     of        Processing

Operations, echoed that “[t]he Postal Service has removed

and/or replaced unnecessary or outdated mail processing and

sorting equipment for many years,” both when they become

outdated and need to be replaced, and when “they are no longer

needed to process the volume of mail.” (DeChambeau Decl. ¶

7.)     He    indicated    that    the    current    equipment-reduction

initiative began in January 2017. (Id. ¶ 14.)

      Plaintiffs dispute whether the removal and destruction

of this equipment was done in the normal course.                       Barrios

testified, for example, that, based on his experience, the

handling of machines was “a dramatic departure from past

practice.” (Barrios Decl. ¶ 26.) He explained that, when

volume dipped in the past, sorting machines were powered down

rather than destroyed, leaving the facility “the ability to


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start them back up when mail volume spiked.” (Id. ¶ 27.) This

flexibility allowed postal employees “to address the dramatic

seasonal    differences”      in   mail     volume.      (Id.)    This    time,

however, according to an email Plaintiffs obtained dated

August 18, 2020, postal employees have been directed “not to

reconnect/reinstall        machines       that   ha[d]    previously       been

disconnected without approval from HQ Maintenance, no matter

what direction they [got] from their plant manager.” (Green

Decl. Ex. 4, at 1.)

       Plaintiffs further argue that the greatest reductions

were    implemented     in     “major       cities,      likely      to   skew

Democratic.” (Motion at 20.) They submitted a map created by

the    Washington   Post    titled    “Postal     Service        Reduction   in

Sorting    Capacity,”        indicating      that     sorting       capacity,

expressed as the number of pieces of mail sorted per hour,

has declined disproportionately across the country, with

declines concentrated in population-dense areas. (Green Decl.

Ex. 5; Compl. ¶ 90.)

              5. Changes to Election Mail Handling

       The Postal Service’s approach to handling Election Mail

has also experienced changes in recent months.                        Jamison

explained that “as recently as the 2018 election the USPS

typically treated election mail as 1st class mail, even if it

was sent at marketing mail rates.” (Jamison Decl. ¶ 28). Glass


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similarly testified that USPS historically devoted “excess

First-Class      Mail   processing       capacity     to    Election     Mail.”

(Glass Decl. ¶ 21.) He explained, however, that this is simply

a   “longstanding       practice”       and   that    “no     formal    policy”

requires it. (Id.) Cintron confirmed that some Election Mail

is being delivered as “[M]arketing [M]ail.” (Tr. 61:16-24.)

      Barrios’s testimony also points to changes in USPS’s

approach to Election Mail. He testified that the March 2020

primary Election Mail did not receive the special processing

it did in earlier election years. (Tr. 24:2-14; Barrios Decl.

¶ 25.) For example, during the March 2020 primary, managers

directed employees to run Election Mail through the first set

of sorting machines initially, rather than pulling them aside

to be sorted and canceled separately, as was the previous

practice.   (Barrios      Decl.     ¶    23.)    Barrios      estimated       that

because of this directive, his facility missed about a quarter

of what came through in initial sorting. (Id. ¶ 24.) This

directive is still in place for the November election. (Id.

¶ 23.) When Barrios raised the issue with management, “they

just simply did not” fix the problem. (Tr. 24:25.) Dennis

Stasa, Senior Plant Manager at the same facility as Barrios,

testified that the facility has not changed Postal Service

protocols   to    process    election         mail   during    the     last   two

elections, “and continues to follow this standard protocol


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today.” (Stasa Decl. ¶ 19.) However, Barrios testified, in

remarks the Court found credible, that as a result of the

changes about 600 ballots were left on the mail room floor.

(Tr. 25:14-20.)

      Defense     witnesses    have    testified     regarding      certain

practices the USPS has in place to handle Election Mail. For

example, Glass testified that USPS uses “all clears” to ensure

that Election Mail is accounted for. (Glass Decl. ¶ 19.)

Through this process, USPS employees “use a checklist to

confirm that mail scheduled or ‘committed’ to go out that day

has gone out, and anything committed for the next day is at

the front of the line.” (Id. ¶ 19.)

      Nonetheless, an August 31, 2020 report prepared by the

Office of the Inspector General (“OIG”) found that of seven

facilities      audited,      none    used     the    Postal      Service’s

Operational Clean Sweep Search Checklist. (Tinio Decl. Ex. 4,

at 5.) And “[s]ix of the seven facilities used their own

variation of the Election and Political Mail logs.” (Id.)

While the OIG report did not evaluate the recent changes at

issue in this case, it indicates that prior audits by the OIG

found   that      “the     Postal     Service      needed    to     improve

communication       between      headquarters,        mail     processing

facilities, and election officials,” “train staff on Election

and   Political    Mail    processes,”       and   “appropriately     align


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resources   to   process     peak   Election     and    Political     Mail

volume.” (Id. at 1.)

       Further, while Glass testified that there will be “no

changes in service standards as it applies to election mail”

(Tr. 95:19-23), Jamison disagreed, referencing letters sent

between July 29 and 31, 2020 by General Counsel and Executive

Vice   President,   Thomas    Marshall,     to   46    states   regarding

election mail. (Tr. 31:18-32:1; Jamison Decl. ¶ 28). The

letters   provide   usual    transit     times   for    First-Class    and

Marketing Mail and recommend that Election Officials send out

ballots using First-Class Mail. (Amended Complaint Ex. 5.)

The letters further flag “mismatch[es]” between USPS delivery

speeds and the state law deadlines for requesting and casting

mail-in ballots. (Id. at 2.) The letters warn that “this . . .

creates a risk that ballots requested near the deadline under

state law will not be returned by mail in time to be counted

. . . .” (Id.).

       In light of USPS’s historical practice of treating all

Election Mail as First-Class Mail, Jamison viewed the letters

as “a threat, like an abandonment of those long-term cultural

commitments, that that mindfulness of how important ballots

are is gone and they’re just going to follow the regulations.”

(Tr. 31:18-32:1; see also Jamison Decl. ¶ 28.)




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     Despite DeJoy’s repeated assurances that the USPS has

the capacity to handle all Election Mail this November, even

before his operational changes were introduced, the OIG found

that “the amount of identifiable Election and Political Mail

delivered on-time nationwide was 94.5 percent from April 2020

through    June    2020,    a   decrease       of   1.7   percentage    points

compared to the same period in 2018.” (Tinio Decl. Ex. 4, at

5.) Further, in an apparent acknowledgment of the public

doubts    and    precarious      operational        situation   the    USPS    is

experiencing, Glass explained that USPS will employ ballot

monitors in every processing facility during the week before

the election and through Election Day to monitor postmarking

and ensure ballots are being processed. (Glass Decl. ¶ 39.)

     Glass       further    stated      that    often     postal      employees

“undertake extraordinary efforts to accelerate the delivery

of ballots.” (Glass Decl. ¶ 23.) Among these “extraordinary”

measures,       according   to       Glass,    postal     employees     in    one

instance segregated ballots and sent them as Priority Mail

Express.    (Id.    ¶   25.)    In    another,      postal   employees       made

additional deliveries on Sunday, and in some cases have

delivered ballots on a same-day basis. (Id. ¶ 26.)

     Apart from the installation of ballot monitors and the

use of “all clears” and logs to track Election Mail through

the USPS network, the extra measures USPS contemplates taking


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are considered “practices” not “policies,” meaning, as Glass

explained,   that   they   are   not   required   and   are   instead

“typically left to local managers” to implement. (Tr. 100:5-

9.) With regard to why these practices are not more uniform

or formal policies, he testified that “expediting measures

cannot be applied equally.” (Tr. 105:8-9.) Glass pointed to

measures in place to monitor such practices, but also noted

that if the practices were not properly implemented, by the

time headquarters investigated, it would be too late for

affected ballots. (Tr. 104:11-18.) He also observed that “not

in every case is every method the same and . . . valid,”

because “[y]ou can’t deliver[] throughout the entire state of

Georgia where you might be able to deliver to the city of

Atlanta,” for example. (Tr. 103:5-8.) Furthermore, some of

these measures require the use of overtime. (Tr. 107:3-9.)

Cintron testified that in the past, USPS has run late trips

to ensure that Election Mail is delivered, and that the same

plan would be in place this year. (Tr. 68:2-6.) However, as

discussed above, USPS employees appear to lack clear guidance

regarding whether, and under what circumstances, overtime is

permissible. See supra Section I.B.2. Glass testified that,

if overtime is restricted, the capacity of USPS employees to

undertake extra measures to deliver Election Mail would be

diminished. (Tr. 107:10.)


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               6. Evidence of Delay and Its Impact

      Whether mail delivery delays have occurred is not in

dispute. At an August 24, 2020 hearing before the House

Oversight and Reform Committee, DeJoy acknowledged that there

was a decline in presort First-Class Mail service since July.

(Green Decl. Ex. 1, at 27.) The delay is likewise reflected

in   an   August   12,   2020    Service    Performance     Measurement

briefing which includes a chart showing a steep decline in

service standards for presort First-Class Mail and Marketing

Mail beginning in mid-July.10 (Green Decl. Ex. 2, at 2, 3.)

Similarly,     performance      data    showing   nationwide     service

performance for “market-dominant” products, including First-

Class and Marketing Mail, shows that between January 2020 and

August 2020, First-Class Mail declined from 91.76 percent on

time to 88.04 percent, and Marketing Mail dropped from 91.21

percent on time to 89.56 percent. (Kochevar Decl. Ex. 1, at

2.) This performance decline occurred despite a “virus-driven

decline” in mail volume, which Defendants concede.11 While the

performance data reflect fluctuations, the largest dip with


10 While the scores rebound slightly, they begin to decrease again in late
July. (Green Decl. Ex. 2, at 2, 3.) The Postal Service has indicated that
its goal is for 96.5 percent of First-Class Mail to be on time. (Tr.
36:23-24; Glass Decl. ¶ 17; Tinio Decl. Ex. 5, at 34.) When the service
standard has a score of 88.04 percent, therefore, it is 8.5 percentage
points below the goal. (Tr. 58:17-18.)
11 Tinio Decl. Ex. 2 (Quoctrung Bui & Margot Sanger-Katz, Can the Post

Office Handle Election Mail?, N.Y. Times, Aug. 20, 2020). The New York
Times additionally reports that “recent restrictions on overtime do appear
to have slowed postal processing in some parts of the country.” (Id.)


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respect to both classes of mail occurred the week of July 18,

coinciding with the rollout of DeJoy’s initiatives, and the

on-time rate for First-Class Mail has not rebounded. (Id.)

     The parties do not disagree that, to some degree, the

restrictions on late and extra trips caused these delays.

Curtis testified that the delays resulted from a “perfect

storm,”    including   the   effects   of   COVID-19,    and     “this

increased energy and focus on trips on time.” (Tr. 86:4.)

Likewise, Cintron agreed that, the focus on strict schedule

adherence did come at the cost of service in July and August.

(Tr. 66:22-67:3.) As Plaintiffs’ expert Jamison explained,

“[i]f processing the mail intended for [a particular] truck

hasn't been completed, when the truck leaves, delays in

delivery occur. And those delays escalate and pyramid over

days.” (Tr. 34:15-18.) He characterized the “insistence on

maintaining the rigid adherence to postage transportation

Schedules” as having “[p]erhaps the greatest impact.” (Tr.

34:5-7.)

     But the other operational changes have contributed to

these postal service delays as well. For example, in a letter

dated July 29, 2020, the American Postal Workers Union stated

that machine removal has “a direct negative impact on reduced

service standards” and “has contributed to delayed mail.”

(Green Decl. Ex. 7, at 5.)      Barrios agreed, testifying that


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“[t]he absences of these machines will place a burden on our

ability to process the mail as our Seasoned Holiday Mail would

start . . . coming in.” (Barrios Decl. ¶ 20.) And while Barber

testified that, despite the equipment reductions, if changes

in volume occur, USPS will be able to “quickly address and

remedy any machine processing capacity issue” that results

(Barber Decl. ¶ 6), this notion is undermined by an                 email

from Kevin Couch, Director of Maintenance Operations, dated

August 18, 2020, indicating that postal employees were “not

to reconnect/reinstall machines that ha[d] previously been

disconnected without approval from HQ Maintenance, no matter

what direction they [got] from their plant manager.” (Green

Decl. Ex. 4, at 1.)

     Barrios    testified   that    the   San    Antonio     facility    is

currently running on average two to three days behind its

usual service standard, and that the current delays in mail

delivery will continue into November because there are not

enough   “qualified    supervisors      that    know   how   to   properly

expedite the mail.” (Barrios Decl. ¶ 6; Tr. 22:17-20.)                  And

because USPS is “hiring brand new employees with no official

training,”     while   limiting    overtime,      experienced      postal

employees are effectively prohibited from lending a helping

hand. (See Tr. 22:22-23:3.)




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       Taken together, these delays have a direct bearing on

the fundamental voting rights issues now before the Court.

Specifically, if the Postal Service’s mail delivery levels

remain   at    current    levels   or    continue    to   decline,   under

operational         policies   apparently    still    in    place,    such

curtailed performance would put the ability of voters to

timely cast their ballots at risk. On this point, Cintron

expressly testified that Election Mail could be included

among the mail left behind as a result of the heavy focus on

adhering to departure schedules. (Tr. 68:20-24.) Barrios

explained that “[w]hile our past practices would position us

well to handle what is likely to be a significant task in

pulling out and specially handling an unprecedent volume of

election mail, the reduced capacity from missing machines, as

well   as     the    (constantly   shifting)    micro-management       and

inflexibility is a disaster in the making.” (Barrios Decl. ¶

30.)

       The impact of these operational changes is even greater

this year considering the significant number of voters who

plan to cast their ballots by mail. In plaintiff Mondaire

Jones’s primary election in New York’s 17th Congressional

District, which includes Rockland and parts of Westchester

County, approximately 61.1 percent of the ballots were cast




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by mail.        (Jones Decl. ¶ 6). The voter Plaintiffs in this

action all plan to vote by mail. (E.g., Spencer Decl. ¶ 6).

     International voters face even greater obstacles. Julia

Brown (”Brown”), a volunteer for Democrats Abroad living in

Prague, testified about the “nixie issue,” which arises “when

a ballot or other voting material, such as a ballot request,

is received within the U.S. postal system” but ultimately

returned to sender. (Tr. 12:22-13:2.)             The issue has arisen

earlier    in    2020   than   it   did   in   2016.   Brown   added   that

international voters cannot use private mail carriers as an

effective alternative because they can be costly, unreliable,

and for regions where ballots must be addressed to P.O. boxes,

simply unable to deliver. (Tr. 16:14-22.)

     C. THE PARTIES’ ARGUMENTS

     Plaintiffs argue that the changes in Postal Service

policies and operations detailed above will undermine the

integrity of the November national election by causing delays

in delivery (and, ultimately, counting) of mail-in ballots.

While Plaintiffs admit they do not know the precise measure

of the potential disenfranchisement, they allege that it will

be undoubtedly meaningful in light of the “record volume of

absentee and other mail ballots” expected because of the

pandemic. Plaintiffs offer evidence -- internal memos and

publications -- both substantiating that these changes were


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implemented and suggesting that delay has already begun to

occur. The evidence includes several news articles appearing

in reputable publications drawing that conclusion. Attached

to their motion, Plaintiffs offer evidence indicating that

the reductions in machinery have been concentrated in swing

states or major cities “likely to skew Democratic.”

      Plaintiffs argue that these deviations from past USPS

policies and practices will result in the infringement of

their First Amendment right to vote and to have their votes

equally   counted   under   the   Fifth     Amendment.          They   seek   a

declaratory judgment holding that Defendants have violated

their rights under the Constitution, and an injunction both

(1)   ensuring    that   USPS   may    proceed     with    Election      Mail

operations unencumbered by these policy changes, and (2)

unwinding or mitigating any damage that has already occurred.

      In response to the Plaintiffs’ factual allegations, the

Government     asserts   that   “nearly    all”    of     the    operational

changes    have   been    suspended,      including       “equipment      and

collection box removal, certain routine aspects of overtime

management, . . . changes to retail hours, . . . plans to

consolidate or close any facilities, and a limited pilot

program for mail carriers.” (Opposition at 13.) The “ongoing

effort    to   improve   compliance     with      existing       schedules,”

however, has not been suspended and will continue. (Id. at 13


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n.9.) The Government further disclaims responsibility for

certain      of   the   policy       announcements       (i.e.,    relating    to

overtime, parking restrictions, and prohibitions on late and

extra    trips),     explaining        that    they     were    communicated   by

“local       manager[s]”       without     approval       from    headquarters.

(Opposition at 19 n.14; see also id. at 18 n.13.) Regarding

delay, the Government admits that some delay has occurred but

insists it has been mitigated by the suspension of policy

changes and adjustment to the procedures (such as the new

transportation compliance rules).

                               II.    JURISDICTION

       As it must, the Court first determines whether it has

jurisdiction to hear this suit. While Defendants argue that

Plaintiffs do not have standing because they have failed to

show     a    certainly       impending       injury,     and    also   fail   to

demonstrate that their injury is traceable to and redressable

by   Defendants,        the    Court     holds   that     Plaintiffs     satisfy

Article III standing requirements. Defendants also argue that

Plaintiffs’ claims are moot, but the Court disagrees again,

and holds that Plaintiffs have presented a live controversy.

       A. STANDING

                  1. Legal Standard

       The “Constitution requires that anyone seeking to invoke

federal jurisdiction . . . have standing to do so.” Crist v.


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Comm’n on Presidential Debates, 262 F.3d 193, 194 (2d Cir.

2001). “The law of Article III standing, which is built on

separation-of-powers       principles,     serves    to    prevent    the

judicial process from being used to usurp the powers of the

political branches.” Clapper v. Amnesty Int’l, 568 U.S. 398,

408   (2013).   To   demonstrate    that   Article    III’s    standing

requirements are met, a plaintiff must show that:

      (1) it has suffered an “injury in fact” that is (a)
      concrete and particularized and (b) actual or imminent,
      not conjectural or hypothetical; (2) the injury is
      fairly traceable to the challenged action of the
      defendant; and (3) it is likely, as opposed to merely
      speculative, that the injury will be redressed by a
      favorable decision.

Friends of the Earth v. Laidlaw Envtl. Servs. (TOC), 528 U.S.

167, 181–82 (2000). “[E]ach element must be supported in the

same way as any other matter on which the plaintiff bears the

burden of proof, i.e., with the manner and degree of evidence

required at the successive stages of the litigation.” Lujan

v. Defenders of Wildlife, 504 U.S. 555, 561 (1992) (citations

and quotation marks omitted); see New York v. Trump, No. 20-

cv-5770, 2020 WL 5422959, at *9 (S.D.N.Y. Sept. 10, 2020).

      The injury-in-fact requirement is meant to “ensure that

the plaintiff has a personal stake in the outcome of the

controversy.” Susan B. Anthony List, 573 U.S. at 158 (internal

quotation marks and citation omitted). A “future injury” can

suffice,   if   it   is   “certainly    impending,    or   there     is   a


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substantial risk that the harm will occur.” Id. at 157; see

Clapper v. Amnesty Int’l USA, 568 U.S. 398, 414 n.5 (2013)

(explaining that plaintiffs need not “demonstrate that it is

literally certain that the harms they identify will come

about”);    House   of    Representatives,      525     U.S.   at   332-33

(finding    standing       where    certain      jurisdictions        were

“substantially likely . . . [to] suffer vote dilution”)

(internal quotation marks and citation omitted).

       Traceability      requires   showing    “a     causal   connection

between the injury and the conduct complained of — the injury

has to be fairly traceable to the challenged action of the

defendant, and not the result of the independent action of

some third party not before the court.” Lujan, 504 U.S. at

560 (internal quotation marks, alterations, and citation

omitted). However, traceability does not require “[p]roximate

causation.” Lexmark Int’l, Inc. v. Static Control Components,

Inc., 572 U.S. 118, 134 n.6 (2014). “Article III ‘requires no

more than de facto causality.’” Dep’t of Commerce v. New York,

139 S. Ct. at 2566 (quoting Block v. Meese, 793 F.2d 1303,

1309    (D.C.   Cir.     1986)   (Scalia,     J.)).    Traceability     is

satisfied   when    a    “theory    of   standing”     relies   “on   the

predictable effect of Government action on the decisions of

third parties,” Dep’t of Commerce v. New York, 139 S. Ct. at

2566, “even when the decisions are illogical or unnecessary,”


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New York v. U.S. Dep’t of Homeland Sec., 969 F.3d 42, 59 (2d

Cir. 2020).

       Redressability requires a showing that is “likely, as

opposed      to    merely      speculative,       that   the   injury     will   be

redressed by a favorable decision.” Lujan, 504 U.S. at 561

(internal         quotation        marks   and     citation     omitted).        The

plaintiff need not “show that a favorable decision will

relieve his every injury.”                  Dep’t of Texas, Veterans of

Foreign Wars of U.S. v. Texas Lottery Comm’n, 760 F.3d 427,

432 (5th Cir. 2014) (citing Larson v. Valente, 456 U.S. 228,

243 n.15 (1982)).

       “[A] plaintiff must demonstrate standing for each claim

and form of relief sought.” Cacchillo v. Insmed, Inc., 638

F.3d    401,      404    (2d   Cir.    2011).     The    standing   inquiry       is

“especially rigorous when reaching the merits of the dispute

would force [a federal court] to decide whether an action

taken   by     one      of   the   other    two   branches     of   the   Federal

Government was unconstitutional.” Raines v. Byrd, 521 U.S.

811, 819-20 (1997). To demonstrate standing for injunctive

relief, a plaintiff “cannot rely solely on past injuries;

rather, the plaintiff must establish how he or she will be

injured prospectively and that the injury would be prevented

by the equitable relief sought.” Marcavage v. City of New

York, 689 F.3d 98, 103 (2d Cir. 2012).


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               2. Application

     Voter Plaintiffs have shown a “substantial risk” that

the ballots of voters in certain regions are less likely to

be counted because of delayed mail service. See Susan B.

Anthony List, 573 U.S. at 157; House of Representatives, 525

U.S. at 332-33 (finding standing where certain jurisdictions

were “substantially likely . . . [to] suffer vote dilution”).

     Defendants argue that the Voter Plaintiffs have not

demonstrated standing because their alleged injury is too

speculative.     Defendants     contend    that    USPS    has       already

suspended many challenged procedures and is endeavoring to

ensure the timely delivery of mail, such that mail delays are

unlikely.   But,   as   discussed      above,    there    is       sufficient

evidence suggesting that substantial mail delivery delays

persist, and the rollback of policies has not been fully

implemented or adequately communicated throughout the entire

Postal Service organization, which is tiered in multiple

national, regional, and local levels.

     Additionally, in letters addressed to officials in 46

states,   USPS   acknowledged    that,    even    absent       a   slowdown,

voters face a “significant risk that [they] will not have

sufficient time to complete and mail the completed ballot

back to the election official in time for it to arrive by the

state’s return deadline” and that risk is (in some cases)


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“exacerbated by the fact that the law [in some states] does

not . . . impose a time period by which election officials

must transmit a ballot to the voter.” (See, e.g., Amended

Complaint Ex. 5, at 1-2.) A two-day mail delivery delay

occasioned by postal operations, even if unintentional, would

only increase the likelihood of impairing voting rights. As

USPS     has    “itself    forecast[ed]       the   injuries,”     it    is

“disingenuous for [USPS] to claim that the injury is not

sufficiently imminent.” See New York v. U.S. Dep’t of Homeland

Sec., 2020 U.S. App. LEXIS 24492, at *25 (2d Cir. Mar. 2,

2020).

       Defendants suggest that the Voter Plaintiffs have not

shown an injury, because they can avoid injury by mailing

their ballots early. The Court is not persuaded. Defendants’

argument overlooks that the mail delays will predictably

force some citizens –- such as plaintiff Shannon Spencer --

to vote in person and potentially suffer harm in the form of

exposure       to   COVID-19.   See   Black     Voters   Matter   Fund   v.

Raffensperger, No. 20 Civ. 01489, 2020 U.S. Dist. LEXIS

143209, at *55-61 (N.D. Ga. Aug. 11, 2020) (finding injury

and standing where state law forced plaintiff to choose

between    paying     postage   or    risking    COVID-19   infection    by

voting in-person); see Dep’t of Commerce v. New York, 139 S.

Ct. at 2566. This prospect constitutes an injury even if


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voters   “decisions      [to   vote      in   person]     are     illogical   or

unnecessary,” by, for example, overlooking the possibility of

voting early. New York v. U.S. Dep’t of Homeland Sec., 969

F.3d at 59.

     Given    the     substantial        likelihood      that,    due   to   mail

delays, certain votes are likely not to be counted, Candidate

Plaintiffs    also     have    standing.       Contrary      to    Defendants’

contention, Candidate Plaintiffs need not allege that the

mail issues will cause them to lose to show an injury. The

challenged     mail    procedures         injure     electoral      candidates

because “[c]andidates have an interest not only in winning or

losing their elections, but also in ensuring that the final

vote tally accurately reflects the votes cast.” Gallagher v.

N.Y. State Bd. of Elections, 20 Civ. 5504, 2020 WL 4496849,

at *9 (S.D.N.Y. Aug. 3, 2020).

     The Court further concludes that Plaintiffs have shown

traceability     and     redressability.           The     rollout      of    the

challenged policies coincided with a sharp decline in on-time

delivery rates from the already-depressed pandemic rates.

This fact, together with the testimony described above, makes

clear that the challenged mail procedures have slowed mail

service and are thus a de facto cause of Plaintiffs’ claimed

injuries.    This     harm    may   be    lessened    by    declaratory       and




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injunctive   relief   targeted    at    minimizing   delays   in   mail

delivery.

     B. MOOTNESS

     Defendants    argue   that   the    Court   lacks   jurisdiction

because Plaintiffs’ claims are moot. Defendants contend that

USPS has suspended many measures that Plaintiffs criticized

and has a demonstrated commitment to delivering Election Mail

in a timely fashion.

     “A case becomes moot -- and therefore no longer a ‘Case’

or ‘Controversy’ for purposes of Article III –- ‘when the

issues presented are no longer live or the parties lack a

legally cognizable interest in the outcome.’” Already, LLC v.

Nike, Inc., 568 U.S. 85, 91 (2013) (quoting Murphy v. Hunt,

455 U.S. 478, 481 (1982) (per curiam)). However, “a defendant

cannot automatically moot a case simply by ending its unlawful

conduct once sued.” Id. (citing City of Mesquite v. Aladdin's

Castle, Inc., 455 U.S. 283, 289 (1982). Otherwise, as the

Supreme Court explained in Nike:

     a defendant could engage in unlawful conduct, stop when
     sued to have the case declared moot, then pick up where
     he left off, repeating this cycle until he achieves all
     his unlawful ends. Given this concern, our cases have
     explained that “a defendant claiming that its voluntary
     compliance moots a case bears the formidable burden of
     showing that it is absolutely clear the allegedly
     wrongful behavior could not reasonably be expected to
     recur.”

Id. (quoting Laidlaw, 528 U.S. at 190).


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     Here, Defendants have not even shown that the challenged

practices have ceased. Tellingly, they declare that “nearly

all” of the challenged USPS policies and operations have been

suspended. But, how many potentially uncounted votes could

remain in undelivered mail in the gap between “all” and

“nearly   all”   of   the   practices   at   issue?   The   Government

concedes that one practice -- the “ongoing effort to improve

compliance with existing schedules” -- has not been, and will

not be, suspended. (Opposition at 13 n.9.) As discussed above,

USPS has not fully restored mail delivery service levels. See

supra. And substantial evidence indicates that the supposed

rollback of the challenged practices is either unenforced and

not yet fully implemented or possibly insincere. See supra.

The controversy Plaintiffs raise remains very much alive.

                       III. LEGAL STANDARDS

     A. PRELIMINARY INJUNCTION

     Ordinarily, a preliminary injunction may be granted when

the party seeking the injunction establishes that “1) absent

injunctive relief, it will suffer irreparable harm, and 2)

either a) that it is likely to succeed on the merits, or b)

that there are sufficiently serious questions going to the

merits to make them a fair ground for litigation, and that

the balance of hardships tips decidedly in favor of the moving

party.” Otokoyama Co. Ltd. v. Wine of Japan Import, Inc., 175


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F.3d 266, 270 (2d Cir. 1999). But when the injunction sought

is mandatory, i.e., when it “will alter rather than maintain

the status quo,” the movant must show ‘clear’ or ‘substantial’

likelihood of success. No Spray Coalition, Inc. v. City of

New York, 252 F.3d 148, 150 (2d Cir. 2001) (quoting Rodriguez

v. DeBuono, 175 F.3d 227, 233 (2d Cir. 1999)).

     B. APPLICABILITY OF ANDERSON-BURDICK

     One important open question with respect to the legal

standards applicable in this case, though ultimately not a

dispositive one, is whether the Court should apply the so-

called   Anderson-Burdick    test,   derived    from    Anderson        v.

Celebrezze, 460 U.S. 780 (1983), and Burdick v. Takushi, 504

U.S. 428 (1992). In Anderson, Burdick, and their progeny, the

Supreme Court “articulated a ‘flexible standard’ to evaluate

‘Constitutional   challenges    to   specific    provisions        of   a

State’s election laws.’” Daunt v. Benson, 956 F.3d 396, 406

(6th Cir. 2020) (quoting Burdick, 460 U.S. at 434; Anderson,

460 U.S. at 789). When applying the Anderson-Burdick test, a

court first considers the “character and magnitude of the

asserted injury to the rights protected by the First and

Fourteenth   Amendments.”   Anderson,    460   U.S.    at   789.    This

inquiry requires a determination of “content-neutrality and

alternate means of access.” Citizens for Legislative Choice

v. Miller, 144 F.3d 916, 921 (6th Cir. 1998). For example, a


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limitation on political participation by an identifiable

political group would not be content-neutral, and thus would

impose a severe burden. Id. As another example, a law would

impose a severe burden if it left “few alternate means of

access to the ballot” and so “restrict[ed] the availability

of political opportunity.” Daunt, 956 F.3d at 407 (quoting

Miller, 144 F.3d at 921).

     After determining the burden, the court evaluates the

state’s justifications for its rule. The level of scrutiny

depends    on    the    burden;    for    severe     restrictions,       the

regulation must be “narrowly drawn to advance a state interest

of compelling importance.” Burdick, 504 U.S. at 434. If the

state election law imposes “reasonable, nondiscriminatory

restrictions” on First and Fourteenth Amendment rights, then

“the State’s important regulatory interests are generally

sufficient      to   justify”     the    restrictions.       Id.    (quoting

Anderson, 460 U.S. at 788). If the state election law burden

is “moderate,” then the court uses a flexible analysis, which

involves   simply      weighing   the    burden    against    the    state’s

asserted interest and means of pursuing it. Daunt, 956 F.3d

at 408-09 (citations omitted).

     The parties dispute whether the Anderson-Burdick test

applies to Plaintiffs’ claims. The Government argues the test

is used solely to evaluate state election laws, and so is


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inapplicable here. The Government further argues that the

framework should not be extended to this case because the

assumptions    underlying    the    framework     do   not   apply   here,

relying on the premise that this case does not implicate “the

counting of votes,” apportionment, or “election regulations,”

and   also   does   not   raise    any    First   Amendment    concerns.

(Opposition at 30.)

      Plaintiffs counter that even if the Anderson-Burdick

framework does not apply, the test does not increase the level

of scrutiny applied to restrictions on the right to vote, but

rather can only reduce the applicable level of scrutiny.

Plaintiffs argue that in older cases predating Anderson-

Burdick, courts simply applied strict scrutiny without regard

to the severity of the burden. Thus, Plaintiffs assert that

even if the Court finds that Anderson-Burdick should not be

applied in a suit challenging federal actions, the claims

should still be assessed under strict scrutiny given that the

fundamental right to vote is at stake.

      It is unsurprising that Anderson-Burdick has never been

applied to federal actors. After all, our country has a highly

decentralized system of election administration, in which

states   and    localities        are    primarily     responsible    for

regulating and managing elections. See U.S. Const. art. 1, §

4; Arizona v. Inter Tribal Council of Arizona, Inc., 570 U.S.


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1, 8 (2013) (“The Elections Clause .                 .   .     imposes the duty”

on states “to prescribe the time, place, and manner of

electing      Representatives         and    Senators”).        The   Court     also

disagrees      with    the     Government     that       this    case    does    not

implicate “the counting of votes.” To hold otherwise would be

to ignore the facts at hand: a large number of voters will be

exercising their right to vote in the November 2020 election

by placing their ballots in the mail. There is simply no

reason for the Court to ignore the severe reality that the

country is in the middle of a deadly pandemic, that only five

states require an affirmative excuse for citizens to vote by

mail, and one state (Oregon) conducts elections entirely by

mail. Indeed, the USPS has affirmatively held itself out as

a   partner    to     state    and    local   election         authorities,      and

recognizes that it is a crucial player in the election.

      Nevertheless,           the    Court    need       not    decide    whether

Anderson-Burdick applies. First, Plaintiffs are correct that

the test can only lower the level of scrutiny. Since the Court

finds that Plaintiffs have shown a substantial likelihood of

success on the merits even when reviewing the restrictions

under a lower standard, Anderson-Burdick is largely beside

the point. Second, and relatedly, the framework may not yield

a different outcome than the traditional equal protection and

First   Amendment       analyses.      Indeed,    at      the    first    step    --


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deciding the burden -- a court asks essentially the same

questions     that     are    relevant       to    straightforward        First

Amendment    and     Equal    Protection       analyses,    e.g.,    content-

neutrality    and     alternative       means     of    access.     For   these

reasons,    the    Court     declines   to     answer     whether   Anderson-

Burdick     should    be     extended     to      cases    challenging      the

constitutionality       of    restrictions        on   voting   caused    by   a

federal entity.

      C. APPLICABILITY OF MCDONALD

      The Government also argues that under McDonald v. Board

of Election Commissioners of Chicago, 394 U.S. 802 (1969),

the Court should apply           rational basis review.12            McDonald

involved an Illinois statute that denied certain inmates

mail-in ballots. The Court held that the statute did not

restrict their right to vote, but rather only their asserted

right to an absentee ballot, and that they were thus not

“absolutely prohibited from voting by the State.” Id. at 808

n.7. The Court observed that the record lacked evidence that

the State would not, for example, “furnish the jails with

special polling booths . . . or provide guarded transportation



12The Court notes a tension in the Government’s position. The Government
argues that Anderson-Burdick applies only to cases involving state
election laws, but McDonald similarly involved a state election law, and
asked whether voters were being prohibited from voting “by the State.”
394 U.S. at 808 n.7. If Anderson-Burdick should not apply, neither should
McDonald.


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to the polls.” Id. at 808 n.6. On these facts, the Court

applied rational basis review and upheld the statute.

     The Court finds that McDonald is inapposite. The Supreme

Court has expressly restricted its applicability to cases in

which    there   is   no   evidence    showing   that   the    challenged

restriction will prohibit the plaintiff from voting. As the

Supreme Court recognized just a few years later, first in

Goosby v. Osser, 409 U.S. 512 (1973), and then again in

O’Brien v. Skinner, 414 U.S. 524 (1974), McDonald was a case

that “[e]ssentially . . . rested on failure of proof,” because

there was nothing in the record to show that the inmates were

“in fact absolutely prohibited from voting by the State.”

O’Brien, 414 U.S. at 529 (quoting McDonald, 394 U.S. at 808

n.7). And again, in Hill v. Stone, 421 U.S. 289, 300 n.9

(1974), the Court distinguished McDonald as a case in which

“there    was    nothing   in   the   record   to   indicate    that   the

challenged Illinois statute had any impact” on the right to

vote. The Court pointed to language in McDonald stating that

“[a]ny classification actually restraining the fundamental

right to vote . . . would be subject to close scrutiny.” Id.

Where the facts demonstrate that there is a “not trivial”

burden on the right to vote, McDonald is inapplicable. Price

v. New York State Bd. of Elections, 540 F.3d 101, 110 (2d

Cir. 2008); see also id. at 109 (“[I]t is important only that


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there   is    at   least   some    burden   on   the     voter-plaintiffs’

rights.”); see also id. at 109 n.9 (“McDonald does not alter

our analysis . . . [because] the record in this case is not

similarly barren.”). Because such facts are in the record

before the Court, McDonald is distinguishable and rational

basis review inappropriate.13

                           IV.    LEGAL ANALYSIS

      Because the Court finds that Anderson-Burdick does not

govern the analysis, Plaintiffs’ claims must be assessed as

standalone equal protection and First Amendment violations.

The   Court   begins   with      Plaintiffs’     Fifth    Amendment   equal

protection claim.

      A. EQUAL PROTECTION CLAIM

      Plaintiffs argue that USPS’s policies and practices

generally, and specifically as they relate to Election Mail,

do not comport with the Fifth Amendment’s guarantee of equal

protection because they render voters’ ability to cast an

effective vote dependent on arbitrary factors, such as the

particular USPS branch that handles their ballots.




13 While the Fifth Circuit recently upheld the continued validity of
McDonald in the equal protection context in Texas Democratic Party v.
Abbott, 961 F.3d 389 (5th Cir. 2020), that court did not squarely address
whether there may be a right to access an absentee ballot in conditions
of national emergency, such as this country has been facing for several
months now, given that a law requiring in-person voting presents severe
burdens -- a proposition not contested by the Government.


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      “[E]qual     protection     .     .    .   require[s]      the    uniform

treatment of” similarly situated individuals. Reynolds v.

Sims,   377   U.S.   533,   565   (1964).        “The   right    to    vote     is

protected     in   more   than    the       initial     allocation      of    the

franchise. Equal protection applies as well to the manner of

its exercise.” Bush v. Gore, 531 U.S. 98, 104 (2000) (per

curiam). Once citizens have been granted the right to vote,

the government “may not, by later arbitrary and disparate

treatment, value one person’s vote over that of another.” Id.

at 104-05 (citing Harper v. Virginia Bd. of Elections, 383

U.S. 663, 665 (1966)).14

      In a series of apportionment cases in the 1960s, the

Supreme Court developed the one person, one vote standard,

which    requires    that    congressional,             state,    and        local

legislative districting schemes be designed to weight votes

equally.15 In Reynolds, for example, the Court held that “the


14 Harper and Bush v. Gore were decided under the Fourteenth Amendment
Equal Protection Clause, which applies only to the states. Although the
Fifth Amendment, which binds the federal government, contains no explicit
guarantee of equal protection, “[e]qual protection analysis in the Fifth
Amendment area is the same as that under the Fourteenth Amendment.”
Buckley v. Valeo, 424 U.S. 1, 93 (1976), superseded on other grounds by
statute, see McConnell v. Fed. Election Comm’n, 540 U.S. 93 (2003);
Adarand Constructors, Inc. v. Pena, 515 U.S. 200, 214-218 (1995);
Weinberger v. Wiesenfeld, 420 U.S. 636, 638 n.2 (1975) (“This Court’s
approach to Fifth Amendment equal protection claims has always been
precisely the same as to equal protection claims under the Fourteenth
Amendment.”). Indeed, it would be “unthinkable that the same Constitution
would impose a lesser duty on the Federal Government” than on the states.
Bolling v. Sharpe, 347 U.S. 497, 500 (1954).
15 Of course, exceptions always exist. Special purpose districts, for

example, are not subject to the one person, one vote standard. See, e.g.,
Salyer Land Co. v. Tulare Lake Basin Water Storage Dist., 410 U.S. 719


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Equal   Protection   Clause     requires   that    the   seats in   both

houses of a bicameral state legislature must be apportioned

on a population basis” to ensure votes are weighted equally.

377 U.S. at 568. The Court explained that “[d]iluting the

weight of votes because of place of residence” violates the

Equal   Protection     Clause     “just    as     much   as   invidious

discriminations based upon factors such as race or economic

status.” Id. at 566 (internal citations omitted).

     The Reynolds Court offered two theories to explain the

importance of an equally weighted vote. First, the Court

explained that an equally weighted vote is necessary to ensure

that citizens have effective representation:

     [R]epresentative   government   is   in  essence   self-
     government through the medium of elected representatives
     of the people, and each and every citizen has an
     inalienable right to full and effective participation in
     the political processes of his State’s legislative
     bodies. Most citizens can achieve this participation
     only as qualified voters through the election of
     legislators to represent them. Full and effective
     participation by all citizens in state government
     requires, therefore, that each citizen have an equally
     effective voice in the election of members of his state
     legislature.

Id. at 565. Second, the Court reasoned that malapportioned

districts communicate a message of inequality, suggesting

that some are “less a citizen” than others. Reynolds, 377



(1973) (holding that elections for the directors of a water-storage
district could weight votes according to the assessed valuation of each
voter's land).


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U.S. at 567. The Court deemed such a message inconsistent

with “[t]he concept of ‘we the people’ under the Constitution”

which “visualizes no preferred class of voters.” Id. at 558.

       The   Supreme    Court     extended     the    equal    protection

principles of its one person, one vote jurisprudence in Bush

v. Gore to decide the constitutionality of the mechanisms

used to recount votes in Florida. The Court’s analysis began

by observing that “the right to vote as the legislature has

prescribed is fundamental; and one source of its fundamental

nature lies in the equal weight accorded to each vote and the

equal dignity owed to each voter.” 531 U.S. at 104. The Court

then articulated the rule that equal protection entails an

“obligation to avoid arbitrary and disparate treatment of the

members of [the] electorate” that results in “valu[ing] one

person’s vote over that of another.” Id. at 104-05.

       Applying these principles, the Supreme Court concluded

that the “the recount mechanisms implemented” in Florida did

“not    satisfy   the   minimum     requirement       for     nonarbitrary

treatment of voters.” Id. at 105. “Much of the controversy”

in that case “revolve[d] around ballot cards designed to be

perforated by a stylus but which, either through error or

deliberate     omission,    ha[d]        not   been    perforated      with

sufficient     precision    for     a     machine     to    register   the

perforations.” Id. The Florida Supreme Court “ordered that


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the intent of the voter be discerned from such ballots.” Id.

The Supreme Court deemed this command “unobjectionable as an

abstract proposition and a starting principle.” Id. at 106.

      The problem, in the Supreme Court’s view, was “the

absence     of     specific      standards      to     ensure       its      equal

application.” Id. Absent precise guidance from the Florida

Supreme Court, different counties “used varying standards to

determine    what    was     a   legal   vote.”      Id.   at   107.16        Even

dissenting       Justices     Souter     and   Breyer      agreed     with    the

majority that more uniform recount standards should have been

applied. See id. at 134 (Souter, J., dissenting) (“I can

conceive of no legitimate state interest served by these

differing        treatments      of    the     expressions       of       voters’

fundamental        rights.       The     differences        appear         wholly

arbitrary.”); id. at 146 (Breyer, J., dissenting) (“I agree

that, in these very special circumstances, basic principles

of fairness should have counseled the adoption of a uniform

standard to address the problem.”).

      In Gallagher v. New York State Board of Elections, No.

20 Civ. 5504, 2020 WL 4496849, at *19 (S.D.N.Y. Aug. 3, 2020),



16 Additional equal protection problems the Supreme Court identified
included (1) differences in the treatment of undervotes and overvotes,
(2) the lack of “assurance that the recounts included in a final
certification must be complete,” and (3) the failure to specify who would
count ballots and how observers could make objections. See Bush v. Gore,
531 U.S. at 107-09.


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the district court relied on Bush v. Gore to hold that

plaintiffs demonstrated a likelihood of success on their

equal   protection      claim   where    due    to     the    “inconsistent

application of postmarks to absentee ballots” by USPS, the

primary election “suffered from a lack of ‘specific standards

to ensure . . . equal application’ of [the state statute’s]

postmark     rule.”    Specifically,      the    Court       found    “strong

evidence that USPS locations in Brooklyn handled absentee

ballots differently from the postal service locations in the

other boroughs” and that “a significant number of Brooklyn

ballots that should have been postmarked were not.” Id. The

court reasoned that “[w]hether an individual’s vote will be

counted in this race, therefore, may depend in part on

something completely arbitrary -- their place of residence

and by extension, the mailbox or post office where they

dropped off their ballot.” Id. Such an arbitrary process, the

court   explained,     lacked   “sufficient       guarantees         of   equal

treatment”     and    constituted       “the    type    of     differential

treatment that the Supreme Court has found to violate the one

person, one vote principle.” Id. (quoting Bush v. Gore, 531

U.S. at 107).

     Defendants contend that Plaintiffs’ equal protection

claim cannot succeed because Plaintiffs have not alleged

purposeful    or     intentional    discrimination.          This    argument


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reflects a fundamental misunderstanding of the one person,

one vote standard. The one person, one vote doctrine does not

“place on plaintiffs any burden of proving that” a system

that    unequally      weights        or    counts       votes     “represents      a

deliberate      effort       to    dilute   some       group’s    voting    power.”

Tucker v. U.S. Dep’t of Commerce, 958 F.2d 1411, 1414 (7th

Cir. 1992); see Grant M. Hayden, The False Promise of One

Person, One Vote, 102 Mich. L. Rev. 213, 222 (2003) (“[T]he

one person, one vote standard . . . enjoys the doctrinal

privilege of being one of the few Equal Protection Clause

violations actionable without a showing of discriminatory

intent.”).      In     cases        where       a     showing    of   intentional

discrimination        is     required,      that       requirement    serves     “to

prevent the concept of equal protection from being used to

invalidate governmental policies that just happen to bear

more heavily against a vulnerable group.” Tucker, 958 F.2d at

1414. In contrast, the one person, one vote cases “vindicate

a right that the Supreme Court has found to be implicit in

the Constitution” to an election system that fairly counts

and weights votes. Id. The “failure to create the required

mechanism is an intentional denial of the right to an equally

weighted vote.” Id.

       Thus,   in Bush        v.    Gore,       the    Court    concluded    that   a

violation      of    equal    protection            occurred    without    making   a


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finding of discriminatory intent on the part of the Florida

Legislature or the Florida Supreme Court. See Gallagher, 2020

WL 4496849, at *20. Similarly, in Harper, on which Bush v.

Gore relied, the Supreme Court invalidated a poll tax absent

evidence of an intent to discriminate based on race or wealth.

Harper, 383 U.S. at 670. With regard to the state’s argument

that the poll tax was as innocuous as a driver’s license fee,

the Court remarked that “[t]he degree of discrimination is

irrelevant.”    Id.    at   668.     Likewise,       when   a    plaintiff

challenges a Congressional districting plan on a one person,

one vote theory, the plaintiff need only show that “the

population    differences    among       districts    could     have   been

reduced or eliminated altogether by a good-faith effort to

draw districts of equal population.” Karcher v. Daggett, 462

U.S. 725, 730 (1983); see Franklin v. Massachusetts, 505 U.S.

788, 806 (1992) (citing Karcher for the proposition that

plaintiffs     “bear    [the]      burden    of      proving    disparate

representation”).17 The burden then shifts to the government

to show “that each significant variance between districts was

necessary to achieve some legitimate goal.” Karcher, 462 U.S.

at 731.




17 Although Defendants cited Franklin in their Opposition, they do not
discuss this aspect of the Supreme Court’s decision. (See Opposition at
25 n.20 (citing Franklin, 505 U.S. at 802-03).)


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     In sum, the Supreme Court has consistently declined to

require a showing of discriminatory purpose in the context of

one person, one vote cases. Defendants offer no authority to

the contrary. Accordingly, the Court will not impose such a

requirement in this case. In any event, the Court observes

that OIG reports had put USPS on notice of inconsistencies in

the handling of Election Mail and the need for improved

communications and training on Election Mail processes. (See

Tinio Decl. Ex. 4, at 1 (discussing prior audits)).

     Defendants further contend that the equal protection

principles Plaintiffs invoke do not apply to USPS’s handling

of Election Mail. Yet, states are relying on USPS as a “vital

partner   in    administering    a    safe,    successful   election.”

(Amended Complaint Ex. 7 (Letter from the leadership of the

National Association of Secretaries of State to DeJoy dated

August 7, 2020)). And, even the nuts and bolts of election

administration must comport with equal protection. Bush v.

Gore stands for the proposition that an equal protection

violation      occurs   when   arbitrary      disparities   in   voting

mechanisms make it less likely that voters in certain areas

will cast votes that count. Nonuniform mail service functions

in the same way as the nonuniform vote counting standards at

issue in Bush v. Gore, making it less likely that absentee

voters in certain areas will cast votes that count, due in


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substantial part to failures in the Postal Service’s Election

Mail operations. Defendants offer no persuasive explanation

for why USPS should be exempt from the same standards that

apply   to    other   government    entities   that    handle   ballots.

Defendants cannot seriously contend, for example, that the

Constitution permits USPS to refuse to carry the ballots of

minority voters or to arbitrarily shred ballots. See Wesberry

v. Sanders, 376 U.S. 1, 17 (1964) (“Not only can this right

to vote not be denied outright, it cannot, consistently with

Article I, be destroyed by alteration of ballots or diluted

by stuffing of the ballot box.”) (citing United States v.

Classic, 313 U.S. 229 (1941); United States v. Saylor, 322

U.S. 385 (1944)).

     The cases described above all concern disparities in the

weighting and counting of votes cast within the same state.

Defendants contend that “it is not clear how the ‘one person,

one vote’ principle could ever be applied across state lines.”

(Opposition at 25 n.19.) Defendants’ point is that, in federal

elections, a voter’s vote is not weighted exactly the same as

those of voters in other states. Consider, for example,

elections for the United States Senate. The two Senators from

Wyoming      represent   around    580,000   people,    while   the   two

Senators from California represent over 39 million people. An

individual voter in Wyoming therefore comprises a larger


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share    of    the    electorate       than    an     individual       voter    in

California.          This         deviation      from         population-based

representation reflects the “Great Compromise” that resolved

the “bitter controversy” between large and small states that

“came near ending the [Constitutional] Convention without a

Constitution.” Wesberry, 376 U.S. at 10-13. With regard to

the   United    States       House    of     Representatives,      the       Great

Compromise     called       for    Representatives       to    “represent      the

people as individuals, and on a basis of complete equality

for each voter.” Id. at 14. This aim, however, cannot be

perfectly      achieved.          Although    Congressional        districting

schemes can achieve near mathematical equality within each

state, it is “virtually impossible to have the same size

district in any pair of states.” U.S. Dep’t of Commerce v.

Montana, 503 U.S. 442, 463 (1992) (emphasis added). This

result    follows      because       Article     1,     Section    2    of     the

Constitution requires that a fixed number of Representatives

be allocated among states of varying sizes, so that even the

smallest states have at least one Representative, and that

Representatives not be split between states. See id. And, due

to the design of the Electoral College -- in which each state

has as many electors as it has Senators and Representatives

in Congress -- these interstate disparities carry over into

presidential elections. See U.S. Const. art. II, § 1. Thus,


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in     the    interstate        context,       votes    are      weighted     with

constitutional proportionality rather than exact mathematical

equality.

       The    Defendants        are    not    sure   what   to   make    of   this

electoral phenomenon. They offer no precedent or argument on

what the right to an equal vote means in the interstate

context. Defendants’ only remark in this regard is that “it

is not clear . . . .” (See Opposition at 25 n.19.)

       But one proposition is abundantly clear. The Supreme

Court’s one person, one vote decisions are concerned with

ensuring voters’ rights to fair and effective representation

and equal dignity, and these rights retain their force even

when    votes       are   not    weighted      with    precise     mathematical

equality. In Gray v. Sanders, 372 U.S. 368, 380 (1963), the

Court observed that “the Constitution visualizes no preferred

class of voters,” and underscored “the dignity” of “the right

to have one’s vote counted.” The Court’s decision in Reynolds

echoed       this    emphasis     on    the    equal    dignity     of   voters,

recognizing that “[a] citizen, a qualified voter, is no more

nor no less so because he lives in the city or on the farm.”

377 U.S. at 568. The Court in Reynolds further proclaimed

that “every citizen has an inalienable right to full and

effective participation in the political processes of his

State’s legislative bodies.” Id. at 565. And, in Bush v. Gore,


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the Court reaffirmed “the equal dignity owed to each voter.”

531 U.S. at 529.

     To effectuate these rights, the Court required that

votes be weighted equally for purposes of Congressional and

state legislative elections. See Reynolds, 377 U.S. at 565

(“Full and effective participation by all citizens in state

government requires, therefore, that each citizen have an

equally effective voice in the election of members of his

state legislature.”); id. at 567 (“To the extent that a

citizen’s right to vote is debased, he is that much less a

citizen.”). In other words, an equally weighted vote is a

means of putting into operation a broader right of political

equality. The Supreme Court endorsed this understanding in

Gaffney v. Cummings, 412 U.S. 735, 748 (1973), explaining

that the “reason” the Court “insisted on substantial equality

of populations among districts” in Reynolds was to “achiev[e]

fair and effective representation for all citizens.”

     It follows that a voter’s right to fair and effective

representation and equal dignity can be vindicated even when

her vote is not accorded exactly equal weight to that of other

voters. “Fair and effective representation . . . does not

depend   solely    on   mathematical   equality    among   district

populations.” Id. at 748-49. The Supreme Court has cautioned

against “[a]n unrealistic overemphasis on raw population


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figures.” Id. at 749.18 Indeed, with regard to the United

States   House    of   Representatives,       the   Supreme    Court      has

plainly instructed:

      While it may not be possible to draw congressional
      districts with mathematical precision, that is no excuse
      for ignoring our Constitution’s plain objective of
      making equal representation for equal numbers of people
      the fundamental goal for the House of Representatives.
      That is the high standard of justice and common sense
      which the Founders set for us.

Wesberry, 376 U.S. at 18.

      In sum, Defendants’ doubts about the applicability of

the one person, one vote cases in the interstate context

reflect a reductivist reading of those cases as focused on

equipopulous districts. But the one person, one vote cases

recognize     a    voter’s     rights    to     fair   and      effective

representation and equal dignity -- rights which retain force

in the interstate context. Consider, for example, a voter in

Portland,    Oregon,     who   intends     to   cast    a     vote   in    a

Congressional race. If her ballot is not transmitted in time

due to her local post office’s delays, her “right to full and



18An equally weighted vote is a legal fiction insofar as apportionment
reflects imperfect census data. See Karcher, 462 U.S. at 732 (“[C]ensus
data are not perfect . . . .”); Gaffney, 412 U.S. at 745 (recognizing
that census data “are inherently less than absolutely accurate”).
Moreover, even where the requirement for equally populated districts
applies, districts can deviate somewhat from equal population to achieve
permissible goals. See Gaffney, 412 U.S. at 741-42 (discussing permissible
deviations for Congressional districts and state legislative districts);
see also Mahan v. Howell, 410 U.S. 315, 319 (1973) (upholding an
apportionment plan for a state legislature with a 16.4 percent maximum
variation).


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effective participation in the political processes of h[er]

[Nation]’s legislative bodies” is impaired relative to that

of both in-state and out-of-state voters with access to USPS

branches functioning effectively. Reynolds, 377 U.S. at 565.

     Though    the   election    challenges     now    confronting   our

nation   are   unprecedented,      a   suit    against      the   federal

government for violating the right to an equal vote is not

novel. See, e.g., Wisconsin v. City of N.Y., 517 U.S. 1

(1996); Franklin, 505 U.S. 788; U.S. Dep’t of Commerce v.

Montana, 503 U.S. 442. In Montana, plaintiffs sued the federal

government, alleging that the method used to determine the

number of Representatives to which each state is entitled in

the House of Representatives violated Article I, Section 2.

Essentially,    plaintiffs      disagreed     with    the   mathematical

formula that Congress adopted to apportion seats among the

states. The method that Congress selected aimed to minimize

the relative differences between the size of Congressional

districts. Plaintiffs preferred an approach that would have

minimized absolute deviations from the ideal district size.

Recognizing that the claims raised a question of interstate,

rather than intrastate, voting equality, the Court deemed the

questions justiciable, but ultimately concluded that “the

polestar of equal representation does not provide sufficient

guidance to allow” the Court to decide between the parties’


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preferred mathematical measures of inequality.                        Id. at 463;

see id. at 461 (“[I]t is by no means clear that the facts

here establish a violation of the Wesberry standard.”). The

Court further reasoned that Congress is due “a measure of

discretion that is broader than that” due the states in making

apportionment decisions. Id. at 464. As plaintiffs had not

shown that any alternative method was more consistent with

equal    representation         than   Congress’s      chosen         method,   and

because       Congress’s    choice      was     supported        by    historical

practice       and   entitled     to    deference,        the     Court     upheld

Congress’s “apparently good-faith choice.” Id.

      Franklin       involved     a    challenge    to    the     Secretary      of

Commerce’s decision to allocate federal employees serving

overseas to states for purposes of the apportionment count.

The     Secretary’s     decision       to     allocate     oversees       federal

employees to their home states altered population counts

enough    to    shift   a   Representative         from    Massachusetts         to

Washington.      The    Court    concluded      that     “[t]he        Secretary’s

judgment does not hamper the underlying constitutional goal

of    equal     representation”        and    “assuming         that    employees

temporarily stationed abroad have indeed retained their ties

to their home States, actually promotes equality.” Franklin,

505 U.S. at 806.




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       In   Wisconsin,     relying      on   Franklin        and   Montana,   the

Supreme Court upheld the Census Bureau’s decision not to

statistically adjust the 1990 Census results to correct for

a    differential   undercount       of      racial    and    ethnic    minority

groups. 517 U.S. 1. The Second Circuit had applied heightened

scrutiny     to   review      the   Secretary’s       decision      because    it

affected the fundamental right to an equal vote. Id. at 4.

The Supreme Court reversed, emphasizing that “the text of the

Constitution      vests       Congress       with     virtually        unlimited

discretion in conducting the decennial ‘actual enumeration,’”

and that the Secretary’s decision was made “pursuant to

Congress’ direct delegation of its broad authority . . . .”

Id. at 19, 17. The Court further observed that application of

strict scrutiny to the Secretary’s decision concerning a

statistical adjustment would be inconsistent with Montana’s

recognition that constitutional goal of equal representation

does not provide a means of choosing between various measures

of    equality.   Id.    at    17-18.     Rather      than    applying   strict

scrutiny to the Secretary’s decision, the Supreme Court set

forth the following standard:

       [S]o long as the Secretary’s conduct of the census is
       consistent with the constitutional language and the
       constitutional goal of equal representation, it is
       within the limits of the Constitution. In light of the
       Constitution’s broad grant of authority to Congress, the
       Secretary’s decision not to adjust need bear only a
       reasonable relationship to the accomplishment of an


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     actual enumeration of the population, keeping in mind
     the constitutional purpose of the census.

Id. at 19-20 (quotations and citations omitted). On the

facts, the Court concluded that the Secretary’s decision

conformed to constitutional requirements.

     Collectively, these decisions confirm that the right to

equal representation recognized in the Supreme Court’s one

person, one vote cases applies in the interstate context,

even though an equal vote in the interstate context is one of

constitutionally proportional -- as opposed to mathematically

equal -- weight. They also suggest that, when an agency is

exercising authority delegated by Congress, the agency is due

greater deference than states are given in malapportionment

cases.

     Applying the above principles, the Court concludes that

Plaintiffs have demonstrated a substantial likelihood of

success on their Fifth Amendment equal protection claim.

Equal protection entails an “obligation to avoid arbitrary

and disparate treatment of the members of [the] electorate”

that results in “valu[ing] one person’s vote over that of

another.”   Bush   v.   Gore,   531   U.S.   at   104-05.   An   equal

protection violation occurs when arbitrary disparities in

voting mechanisms make it less likely that voters in certain

areas will cast votes that count. See id.



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     Here,    Plaintiffs       have    identified      a   profound         and

troubling lack of standards and uniformity with regard to

USPS’s handling of Election Mail. One example is the July 14

PowerPoint.   This   PowerPoint        states   that   because    of    “HIS

expectations”     (i.e.,       DeJoy’s),        “[o]vertime      will        be

eliminated.” (Supp. Green Decl. at 2.) Yet DeJoy testified to

Congress, “I have never put a limitation on overtime.” (Tinio

Decl. Ex. 14 at 25.) The PowerPoint warns that “[a]ll routes

will have no more than 4 park points. We will be moving

towards that this summer.” (Supp. Green Decl. at 4.) Yet

Defendants submit that “there is no nationwide USPS policy

setting a fixed cap on the number of park points.” (Opposition

at 20; Colin Decl. ¶¶ 13-14.) Defendants argue that this

document was “prepared by a local manager,” that it never

represented Postal Service policy, and that the district-

level   manager   issued   a    clarification.      (Opposition        at    19

n.14.) Yet the fact remains that the creator of the document

perceived the content to reflect DeJoy’s expectations. This

demonstrates a stunning lack of uniformity and a high level

of confusion at various points in the USPS hierarchy regarding

the standards to be followed by USPS employees on the ground.

     So too with other evidence in the record. The Mandatory

Standup Talk states in clear terms that “late trips are no

longer authorized or accepted,” and the same for extra trips.


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(Amended Complaint Ex. 1.) Defendants have insisted that this

document mischaracterizes official policy. (Opposition at 18

n.13; Cintron Decl. ¶ 24 n.1.) Yet Curtis and Cintron both

testified that the contents of this Talk “draw[] from a July

10,     2020     teleconference,       conducted      with       [Area    Vice

Presidents] and members of Headquarters,” and that during the

teleconference,        “members   of    Headquarters      made    statements

reflected, in part,” in the Talk. (Supp. Cintron Decl. ¶ 3;

Supp. Curtis Decl. ¶ 3.) Curtis testified at the hearing that,

“at     least”   for    her   part,     she     “walked   away     with    the

understanding that . . . [they] were going to have to work

through,” in each case, what had caused a late trip, and so

did not perceive the guidance to mean “a ban on late or extra

trips.” (Tr. 75:18–76:8.) In other words, the Talk contained

“some     absolutes”     where    Defendants       contend   Headquarters

intended none. (Tr. 75:17-18.) Needless to say, the author of

the Standup Talk perceived the applicable rule differently.

      With respect to both the July 14 PowerPoint and the

Standup Talk, Defendants stress that USPS took corrective

action, specifically that clarifications were issued, and the

employee who wrote the PowerPoint was even demoted. Yet on

reply,     Plaintiffs     submitted         a   Twitter   post-dating       to

September 6, 2020, displaying a photo of a banner in the

Portland, Oregon plant that states, in no uncertain terms,


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that trucks must depart on time with no exceptions. According

to the person who posted the image, Postal Service truck

drivers have claimed some trucks leave nearly empty due to

DeJoy’s “mandate.” (Jamison Reply Decl. Ex. 1.) Months later,

it appears that whatever top-down communication issues caused

the creation and communication of the July 14 PowerPoint and

the Standup talk have not been resolved. A conclusion that

these managerial and communication deficiencies are likely to

impact the handling of Election Mail finds strong support in

the OIG’s reports, which have identified the need for improved

communications and training regarding the handling of such

mail. (See Tinio Decl. Ex. 4, at 1.) The Court is left with

little reason to believe that the USPS policy and operational

picture will be any clearer for postal employees as the

November election approaches.

     Plaintiffs have thus made a sufficient showing that the

lack of uniformity in the Postal Service’s treatment of

Election    Mail    among   local    post    offices    will    result   in

intrastate and interstate disparities in citizens’ voting

power. As in Bush v. Gore, the “absence of specific standards”

facilitates       the   “arbitrary   and    disparate   treatment     [of]

voters”    and,    ultimately,   the      unequal   weighting    of   votes

across geographic areas. 531 U.S. at 106-107. Specifically,

“[w]hether an individual’s vote will be counted . . . may


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depend in part on something completely arbitrary -- their

place of residence and by extension, the mailbox or post

office where they dropped off their ballot.” Gallagher, 2020

WL     4496849,      at   *19.    The    predictable      outcome       of    the

differential treatment of ballots within and across states by

reason of mail handling delays would constitute a dilution of

votes, an impairment of the right to fair and effective

representation, and a violation of the equal dignity owed to

each voter.

       The Court need not decide the level of scrutiny that

should apply to USPS’s actions because it is likely that

Plaintiffs would succeed under any standard. If, for example,

the Court applies a deferential standard similar to the test

announced in Montana, Plaintiffs will likely establish an

equal    protection       violation.       USPS’s    non-uniform,       and    at

different times and places conflicting or confusing Election

Mail policies and practices are not consistent with securing

“the goal of equal representation.” 503 U.S. at 462 n.41.

       USPS has offered no satisfactory explanation for failing

to set clear, uniform policies for the handling of Election

Mail.    It    has    given      no   persuasive     assurances     that      the

“practices” it touts to ensure the delivery of Election Mail

will    be    uniformly    applied.     USPS’s      purported     rollback     of

“nearly      all”    policies     linked     to   mail   delays    is    either


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incompletely       implemented,          inadequately            communicated

throughout the organization, or unreliable. The institutional

confusion in Postal Service communications, operations, and

practices   that    Plaintiffs     have        identified    can    serve   no

legitimate purpose. With regard to the one challenged policy

that USPS is officially retaining –- the restriction of “lates

and   extras”    (Tr.   47:25-48:1)       --    Plaintiffs       will   likely

succeed   in     demonstrating     that    USPS     lacks    a     legitimate

justification for rolling out (and retaining) the policy,

which has contributed to meaningful documented delays in

service, in the middle of a pandemic when service standards

were already impaired and a vast influx of mail-in ballots

expected. (See Green Decl. Ex. 2.)

      For these reasons, the Court concludes that USPS has

“not satisf[ied] the minimum requirement for nonarbitrary

treatment   of    voters    necessary     to     secure    the    fundamental

right.” Bush v. Gore, 531 U.S. at 106.

      B. FIRST AMENDMENT CLAIM

      Because     the      Court   finds        that      Plaintiffs     have

demonstrated that injunctive relief is warranted under the

Fifth Amendment, it need not reach Plaintiffs’ arguments

regarding the infringement of their First Amendment right to

vote. However, given the uncharted territory and open legal

questions raised by the facts in this case, and to obviate a


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remand in the event, on appeal, the Second Circuit disagrees

with    the     Court’s    Fifth    Amendment     holding,    the    Court

alternatively finds that Plaintiffs have demonstrated a clear

and substantial likelihood of success on the merits of their

First Amendment claim.

       The First Amendment provides that “Congress shall make

no law . . . abridging the freedom of speech.” It is well

established that voting implicates First Amendment rights.

Yang, 960 F.3d at 130 (“[Plaintiffs’] interest . . . ‘to cast

their vote effectively’ falls squarely within the ambit of

the    protection   offered    by   the   First      Amendment.”).   While

election-related cases generally involve states and not the

federal government, given states’ “broad power to regulate

the     time,     place,     and    manner      of     elections,”    the

“responsibility to observe the limits established by the

First Amendment,” Eu v. S.F. Cty. Democratic Cent. Comm., 489

U.S. 214, 222 (1989) (quoting Tashjian v. Republican Party of

Conn., 479 U.S. 208, 217 (1986)), applies with no less force

to the federal government. Furthermore, laws enacted under

the postal power must also comply with the First Amendment.

See Hiett v. United States, 415 F.2d 664, 669 (5th Cir. 1969)

(a law that affects expression -- here, a prohibition on

mailing an advertisement for getting a divorce abroad -- must

not violate the First Amendment “even if enacted under the


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postal power,” despite its broad nature); Tollett v. United

States, 485 F.2d 1087, 1091 (8th Cir. 1973) (construing a law

“in the light of the First Amendment rather than in the light

of any regulatory power granted to the Postal Service”);

Greenberg v. Bolger, 497 F. Supp. 756, 775 (E.D.N.Y. 1980)

(noting “the obvious relationship” between access to the

mails and the First Amendment).

      Defendants assert, however, that this case does not

implicate either “First Amendment voting interests” or “free

expression through the mail.” (Opposition at 31.)19 Instead,

Defendants    urge   that   the   challenged    conduct   consists    of

“operational decisions” that concern “only the timing of the

physical delivery of mailed ballots.” (Opposition at 31.) The

Government further argues that in any event, such a claim

would fail because “a conduct-regulating statute of general

application that imposes an incidental burden on the exercise

of free speech rights does not implicate the First Amendment.”




19Defendants also argue that plaintiffs have waived any stand-alone First
Amendment claim other than the Anderson-Burdick framework. The Court
disagrees, given that the Complaint and Amended Complaint clearly allege
an infringement of their First Amendment Right to Vote, and Plaintiffs’
opening brief devotes an entire section to the applicability of the First
Amendment to the Postal Service. (Brief at 11-12 (“First Amendment
Scrutiny Applies to Acts of USPS . . . .”).) Defendants cannot claim they
were not on notice with respect to a First Amendment claim, and indeed
the Opposition disputes the validity of such a claim. See Beckman v. U.S.
Postal Serv., 79 F. Supp. 2d 394, 407 (S.D.N.Y. 2000). Furthermore,
because the Government does not argue that First Amendment scrutiny does
not apply in general to the USPS, they have conceded that point.


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(Opposition at 37 (quoting Church of Am. Knights of the Ku

Klux Klan v. Kerik, 356 F.3d 197, 209 (2d Cir. 2004)).)

       The Court disagrees. Plaintiffs allege more than an

incidental burden on their right to vote: Plaintiffs allege

that due to confusion and misdirection at the Postal Service,

and coinciding with a pandemic that effectively necessitates

voting by mail, there is a substantial likelihood that their

ballots will not be counted because of delays in Election

Mail service. See Florida Democratic Party v. Scott, 215 F.

Supp. 3d 1250, 1257 (N.D. Fla. 2016) (explaining that because

“statutory framework completely disenfranchises thousands of

voters,” it “amounts to a severe burden on the right to

vote”).   Couching   the    challenged   actions   as   operational

decisions cannot convert this risk to an incidental burden on

Plaintiffs’ First Amendment rights. Even if the challenged

actions could be construed as operational decisions, the USPS

cannot accomplish through such means what would otherwise

constitute a burden on the right to vote. This outcome holds

especially when the Government hails the herculean efforts by

the USPS to assist state election officials, including by

conducting outreach and implementing purported special mail

handling practices. (Opposition at 34 (“USPS is undertaking

extensive efforts to ensure timely delivery of Election Mail,

with    the   express      aim   of   preventing    the    possible


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disenfranchisement   which   plaintiffs    hold   up   as    a    severe

burden.”).) By the same token, election officials rely on

USPS as a “vital partner in administering a safe, successful

election.” (Amended Complaint Ex. 7.)

     The   Court   thus   finds   that   the   First   Amendment       is

implicated in Plaintiffs’ voting rights claim. In the usual

First Amendment context, a court assesses multiple factors,

including whether the forum subject to the restriction is

public. Here, it is settled that the mail is not a public

forum. See USPS v. Council of Greenburgh Civic Assocs., 453

U.S. 114 (1981). Normally, when the government regulates

speech in a nonpublic forum, the regulation need only be

reasonable   and   content-neutral.      Silberberg     v.       Bd.   of

Elections of N.Y., 216 F. Supp. 3d 411, 417 (S.D.N.Y. 2016);

Longo v. U.S.P.S., 983 F.2d 9, 11 (2d Cir. 1992) (upholding

USPS regulation prohibiting campaigning on postal premises).

For example, in Council of Greenburgh, a civic association

umbrella group wanted to distribute messages in residents’

letterboxes without going through the USPS, and challenged a

law that forbid them from doing so. The Court recognized the

broad postal power conferred by Article I, but noted that “it

may not of course be exercised by Congress in a manner that

abridges the freedom of speech or of the press protected by

the First Amendment.” Nevertheless, the Court rejected the


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civic group’s First Amendment claim. Because mail is not a

public   forum,      the   Court      simply   determined    whether    the

challenged restriction was reasonable and content-neutral.

Greenburgh, 453 U.S. at 131 n.7. Because it was, it was

permissible. Id. at 132.

     Because this case involves voting rights, the usual non-

public     forum   analysis     is      rendered   less     apt.     Indeed,

Plaintiffs suggest that because Defendants have infringed

their voting rights, if Defendants’ conduct is not assessed

under    Anderson-Burdick,         strict      scrutiny     automatically

applies.    (Reply    at   12   n.9    (“[M]any    older    voting   rights

decisions apply strict scrutiny automatically as soon as the

right to vote is restrained . . . .”).) To be sure, “[t]he

right to vote derives from the right of association that is

at the core of the First Amendment.” Storer v. Brown, 415

U.S. 724, 756 (1974) (Brennan, J., dissenting).

     For example, in Evans v. Corman, 398 U.S. 419 (1970),

the Court struck down a Maryland statute that barred residents

of a federal enclave (the National Institutes of Health) from

voting. The Court noted that “the right to vote, as the

citizen’s link to h[er] laws and government, is protective of

all fundamental rights and privileges. And before that right

can be restricted, the purpose of the restriction and the

assertedly overriding interests served by it must meet close


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constitutional scrutiny.” Id. at 422 (citations omitted). The

Court rejected Maryland’s only asserted interest, which was

ensuring that only those citizens who were substantially

affected    by     electoral      decisions     could    have    a   voice.

Similarly, in Cipriano v. City of Houma, 395 U.S. 701 (1969),

another Fourteenth Amendment case, the Court applied strict

scrutiny because the challenged state statute only permitted

some people to vote in a utility bond election. See also

Kramer v. Union Free Sch. Dist. No. 15, 395 U.S. 621, 626

(1969) (“[A]ny alleged infringement of the right of citizens

to vote must be carefully and meticulously scrutinized.”).

     The most recent and most relevant example of application

of strict scrutiny to assess a voting rights claim in the

Election Mail context is Gallagher. There, the court noted

that the question before the court was not the abstract burden

presented by the New York statute, but rather the “as applied”

burden,    which   was   “the     burden    created     by   enforcing   the

postmark    requirement      in   an    election     where   thousands    of

ballots . . . were rendered invalid by its application.” 2020

WL 4496849, at *16. The court found this burden “exceptionally

severe,”    because      a   large     number   of    ballots    would   be

invalidated. The court found that “in light of the ongoing

COVID-19 pandemic, there was an uncommonly compelling reason

for many voters to vote by absentee ballot.” Id. Because the


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burden on voters’ rights was severe, the court applied strict

scrutiny     and     concluded          that       the     state     statute       was

unconstitutional as applied.

       If strict scrutiny applies in the instant case, the

Government’s        asserted         interests       are     insufficient.         The

Government        offers       no    justification         for    its     incomplete

rollback     of    its     prior      postal       policies       that    concededly

produced a decline in mail service. As for the one retained

policy that restricts “lates and extras”, the Government

asserts that the Postal Service’s “operational choices . . .

reasonably relate to timely and efficiently delivering the

nation’s     mail”       and    “continuing         its    regular       operations”

(Opposition at 32, 36). That explanation is not enough. The

Bill of Rights was “designed to protect the fragile values of

a   vulnerable      citizenry        from    the    overbearing          concern   for

efficiency and efficacy.” Stanley v. Illinois, 405 U.S. 645,

656    (1972).     Thus,       the   Supreme       Court    has    held    that    the

“vindication of conceded constitutional rights cannot be made

dependent upon any theory that it is less expensive to deny

than to afford them.” Watson v. City of Memphis, 373 U.S.

526,   537   (1963).       Moreover,        “[t]he       possibility      of   future

increases in the cost of administering the election system is

not a sufficient basis here for infringing [Plaintiffs’]

First Amendment rights.” Tashjian, 479 U.S. at 218. And here,


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considering the Government’s justifications in context, with

respect to timeliness and efficiency, the Government does not

show why, after two years of planning, it increased urgency

around   an    initiative      to   encourage     adherence    to   shipping

schedules in the middle of election season coinciding with a

pandemic. The Postal Service met or was near its service

standard goals for First-Class Mail in May, and despite dips

into performance levels in the 80s in April, service standards

had begun to enter the low 90s before DeJoy’s “transformative

initiative” rolled out. The most recent data in the record,

however,      reflects    an   88   percent   standard,    a   significant

deviation from the USPS’s 96.5 percent target.

     Of course, not every passing reference to voting rights

in a First Amendment claim will trigger strict scrutiny, which

is why the Anderson-Burdick test is useful; it accounts for

the severity of the burden upfront and adjusts the level of

scrutiny      accordingly,     so   that   “not    every   limitation     or

incidental burden on the exercise of voting rights is subject

to a stringent standard of review.” Rogers v. Corbett, 468

F.3d 188, 194 (3d Cir. 2006) (quoting Bullock v. Carter, 405

U.S. 134, 143 (1972)). But even assuming, for the sake of

argument, that some lesser form of scrutiny applied here, the

Court finds that the Government has not met its burden of

demonstrating      a     sufficient    interest     in   sustaining    mail


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policies      or      operations       that      potentially       curtail         voting

rights. Intermediate scrutiny also demands some showing of

tailoring       and    necessity.       As    noted       above,      the   Government

provides      scant     reason        for    the    Court    to     find     that     the

challenged       USPS    actions       could       not    wait    until     after    the

November national election. Thus, it does not matter whether

the    Postal      Service’s     actions         are     evaluated      under      strict

scrutiny or a more intermediate level of scrutiny; the result

is the same.

       Because Plaintiffs have asserted a sufficient burden on

their right to vote, it is immaterial whether the restrictions

here are content-based or content-neutral. The Court notes,

however,      that     there     is    some      ambiguity       in    that     regard.

Plaintiffs initially seem to make the argument that the Postal

Service’s actions raise equal protection concerns because

sorting    capacity       was    reduced         more     dramatically        in    swing

states and cities likely to vote Democratic. Defendants have

raised no authenticity concerns with the map included in the

Amended Complaint, which demonstrates where sorting capacity

was most reduced. But there are other plausible explanations.

It is possible that sorting capacity was most reduced in areas

with    the     most    excess     sorting         capacity.       Conceivably        the

reduced capacity has no practical significance -- that is,

the reduced capacity will not actually affect the Postal


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Service’s ability to sort the mail in those demarcated areas.

But given that Plaintiffs have brought forward at least some

evidence to the contrary, there is simply not enough factual

basis in the record for the Court to make such a finding.

(See Barrios Decl. ¶ 6 (the removal of two sorting machines,

“the      pandemic,    and     other    policy      changes”      caused

“extraordinary mail backlog and delay”).)20 Cf. Crawford v.

Marion Cty. Election Bd., 553 U.S. 181, 189 (2008).

       C. INJUNCTIVE RELIEF

       For the reasons discussed above, the Court finds that

Plaintiffs     have   demonstrated      a   clear    and   substantial

likelihood of success on the merits. The parties disagree

whether Plaintiffs can show the other elements of injunctive

relief,     particularly     irreparable    harm.    “In   the    Second

Circuit, it is well-settled that an alleged constitutional

violation constitutes irreparable harm.” Gallagher, 2020 WL

4496849, at *14 (citing Conn. Dep’t of Envtl. Prot. v.

O.S.H.A., 356 F.3d 226, 231 (2d Cir. 2004)). Thus, “no

separate showing of irreparable harm is necessary.” Statharos

v. N.Y. City Taxi & Limousine Comm’n, 198 F.3d 317, 322 (2d

Cir. 1999). In any event, the Court finds that Plaintiffs


20While the Court does not suggest or make any specific finding that the
Postal Service intended to target certain areas, doing so would obviously
be enough to constitute a content-based burden on speech, even if the
Postal Service’s actions were facially neutral. Reed v. Town of Gilbert,
576 U.S. 155 (2015).


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have    made   a   strong    showing    of    irreparable    harm     and

demonstrated a clear and substantial likelihood of success on

the merits, for the reasons discussed above. The Court does

not    construe    Plaintiffs’    assertion    that   “the    scale    of

disenfranchisement . . . is unclear” as a concession but

rather an apt description of the lack of clarity surrounding

the Postal Service’s actions and how voters will respond to

the decline in service standards. (Motion at 7.) The test for

a preliminary injunction is satisfied.21

       Consequently, the question becomes what the scope of

that relief should be. Federal Rule of Civil Procedure 65(d)

requires that “[e]very order granting an injunction . . .

must . . . state its terms specifically[] and describe in

reasonable detail -- and not by referring to the complaint or

other document -- the act or acts restrained or required.”

Defendants argue that some of Plaintiffs’ proposed relief is

insufficiently precise, including the proposed prohibition on

“[a]ny change in the nature of postal services which will

generally affect service on a nationwide or substantially




21As the Second Circuit has explained, district courts are permitted “to
enter nationwide injunctions.” New York v. United States Dep’t of
Homeland Sec., 969 F.3d at 88. The Court determines a nationwide
injunction is appropriate here because, given the nationwide scope of
Defendants’ conduct, to impose anything less would “risk running afoul of
the Constitution’s guarantee of equal treatment.” Gallagher, 2020 WL
4496849, at *23 (citing Bush, 531 U.S. at 109).


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nationwide basis.”22 (Notice of Motion.)            Plaintiffs agree on

reply that the Court may narrow their requested relief as

appropriate.       See Richmond Tenants Org. v. Kemp, 956 F.2d

1300, 1308 (4th Cir. 1992) (“It is well established . . .

that a federal district court has wide discretion to fashion

appropriate injunctive relief . . . .”).

      While   some   of    the   requested      elements   of     injunctive

relief are specific enough to pass muster under Rule 65(d),

other elements are too vague to be permissible. For example,

Plaintiffs request that the Court enjoin the enactment of any

rule, policy, or standard the purpose of which would delay

the delivery of mail to or from a government entity. But

government entities apart from state and local boards of

elections are outside the scope of this case. The Court will

therefore limit the scope of relief accordingly.

      Finally, the Government argues -- in a footnote -- that

the Court lacks authority to enjoin the President in the

context of his official, non-ministerial duties. (Opposition

at   25   n.20.)   The    Government     also    argues    that    the   same

principles that prevent federal courts from enjoining the


22 Plaintiffs counter that this language is borrowed directly from a
statute that already governs USPS services and so does not impose any
additional investigative burden. (Reply at 19-20 (quoting 39 U.S.C. §
3661(b)).) However, courts have generally held that a restrained party
does not have fair notice of what conduct will risk contempt if the
injunction merely enjoins a party to obey the law or comply with an
agreement. Hughey v. JMS Dev. Corp., 78 F.3d 1523, 1531 (11th Cir. 1996).


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President’s official acts also prevent them from entering

declaratory relief.

      Generally, arguments raised only in a footnote need not

be considered. Weslowski v. Zugibe, 96 F. Supp. 3d 308, 314

(S.D.N.Y. 2015) (collecting cases). Nevertheless, the Court

agrees   with    the   Government’s     first    proposition.         See

Mississippi v. Johnson, 71 U.S. 475, 501 (1866) (“[T]his court

has no jurisdiction of a bill to enjoin the President in the

performance of his official duties . . . .”). While it is an

“open . . . question whether the President might be subject

to a judicial injunction requiring the performance of a purely

‘ministerial’ duty,” Franklin v. Massachusetts, 505 U.S. at

802, “the law is clear that the Court cannot issue such relief

to   require   performance   of    official   duties    that   are    not

ministerial.”    Citizens    for   Responsibility      and   Ethics   in

Washington v. Trump, No. 19 Civ. 1333, 2020 WL 619959, at *9

(D.D.C. Feb. 10, 2020). Because the duties at issue here

appear entirely official and non-ministerial -- the running

of a major department of the Executive Branch –- the type of

broad injunctive relief Plaintiffs seek is unavailable as to

the President. Napolitano v. Flynn, 949 F.2d 617, 622 (2d

Cir. 1991) (actions are “ministerial” when “nothing is left

to discretion”).




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      The Court has some doubts as to the accuracy of the

Government’s argument that the Court may not even enter

declaratory      relief     against       the   President.    Indeed,        the

Government      cites     two    recent     cases    from    this    district

suggesting the contrary. See Pen American Center, Inc. v.

Trump, 448 F. Supp. 3d 309, 327-28 (S.D.N.Y. 2020); Knight

First Amendment Institute at Columbia Univ. v. Trump, 302 F.

Supp. 3d 541, 579 (S.D.N.Y. 2018), aff’d, 928 F.3d 226 (2d

Cir. 2019),      reh’g en banc denied, 953 F.3d 216 (Mem.).

However, given that legal process is generally directed to

lower-level executive officials, Nixon v. Sirica, 487 F.2d

700, 709 (D.C. Cir. 1973) (en banc), the Court need not decide

the   matter,    because    it    finds     that    injunctive      relief   is

available against DeJoy and the Postal Service. See Knight

First Amendment Institute at Columbia Univ., 302 F. Supp. 3d

at 579. Therefore, the Court will deny the Motion insofar as

it seeks relief against the President.

                                 Conclusion

      “No right is more precious in a free country than that

of having a voice in the election of those who make the laws

under which, as good citizens, we must live.” Wesberry v.

Sanders, 376 U.S. at 17. It may be, as Defendants’ witness

stated, that the Postal Service is facing a “perfect storm”

of events causing delays in mail delivery. (Tr. 86:4.) The


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Court fully understands that the Postal Service’s operations

face   an   exceptional   test   during   the   impending    national

election. But now, more than ever, the Postal Service’s status

as a symbol of national unity must be validated by the

demonstrated degree of its commitment to utmost effectiveness

of Election Mail service. And while the Court has no doubts

that the Postal Service’s workforce comprises hardworking and

dedicated public servants, multiple managerial failures have

undermined the postal employees’ ability to fulfill their

vital mission.

       Accordingly, it is hereby

       ORDERED   that   Plaintiffs’   motion    for   a   preliminary

injunction (Dkt. No. 19) is GRANTED IN PART. Plaintiffs are

directed to submit a proposed second amended complaint as

discussed above; and it is further

       ORDERED that by not later than noon on September 25,

2020   the parties shall settle an Order providing Plaintiffs

appropriate relief consistent with this opinion and notify

the Court of such settlement. In the event the parties fail

to file such notice by that date the terms of the following

Order shall take effect without further action by this Court:

  1. The United States Postal Service (“USPS”) shall, to the

       extent that excess capacity permits, treat all Election

       Mail as First-Class Mail or Priority Mail Express.


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       a. For purposes of this Order, the term “Election

          Mail” shall refer to any item mailed to or from

          authorized election officials that enables citizens

          to participate in the voting process, including

          voter registration materials, absentee or mail-in

          ballot applications, polling place notifications,

          blank ballots, and completed ballots.

 2. No later than September 25, 2020, USPS shall provide to

    this Court and Plaintiffs a cost estimate for treating

    all   Election   Mail    as   First-Class      Mail   beginning   on

    October 15, 2020.

 3. USPS shall pre-approve all overtime that has been or

    will be requested for the time period beginning October

    26, 2020 and continuing through November 6, 2020.

 4. No later than October 1, 2020, USPS shall submit to the

    Court a list of steps necessary to restore First-Class

    Mail and Marketing Mail on-time delivery scores to the

    highest score each respective class of mail has received

    in 2020, which are 93.88 percent for First-Class Mail

    and   93.69    percent    for      Marketing    Mail,   and   shall

    thereafter make a good faith effort to fully implement

    the listed steps.

 5. No later than September 25, 2020, USPS shall submit to

    the Court a list of all USPS recommended practices


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    concerning of the treatment of Election Mail that are

    not binding policies.

 6. USPS shall provide this Court and Plaintiffs with a

    weekly update that includes:

       a. The same weekly update USPS is providing Congress;

          and

       b. Separate, unmerged 2-day and 3-5 day weekly service

          reports and variance reports; and

       c. A summary, not to exceed 10 pages in length, of any

          and all data and information collected regarding

          USPS’s handling of Election Mail and compliance

          with the USPS policies regarding Election Mail,

          USPS recommended practices regarding Election Mail,

          and the terms of this Order specifically pertaining

          to Election Mail.

 7. No later than September 29, 2020, USPS shall submit to

    the Court and Plaintiffs a proposed memorandum to all

    USPS managerial staff (the “Guidance Memorandum”). The

    proposed Guidance Memorandum shall in clear terms and

    with the aid of examples:

       a. Identify and explain all USPS policy requirements

          concerning the treatment of Election Mail;

       b. Identify and explain all USPS recommended practices

          concerning the treatment of Election Mail;


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       c. Clarify that late and extra trips are not banned,

          do not require pre-approval, and will not result in

          disciplinary action;

       d. Clarify that late and extra trips that facilitate

          the     prompt     delivery         of     Election        Mail    are

          encouraged;

       e. Explain that, pursuant to this Court’s Order, to

          the extent excess capacity is available, Election

          Mail    shall    be   treated       as    First-Class       Mail    or

          Priority Mail Express;

       f. Explain that USPS has pre-approved all overtime

          that has been or will be requested for the time

          period beginning October 26, 2020 and continuing

          through November 6, 2020;

       g. Direct managers to explain to each of their direct

          reports the policies and practices described in the

          Guidance    Memorandum           that    are   relevant     to    each

          direct report, taking into account their individual

          responsibilities;

       h. Provide contact information for persons available

          to     answer    questions         concerning        the    Guidance

          Memorandum; and

       i. Provide contact information for persons responsible

          for     tracking      and        responding     to    reports       of


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           violations     of    USPS      policies   and     recommended

           practices concerning the treatment of Election Mail

           and direct personnel to contact this person in the

           event of any such violation.

  8. No later than October 1, 2020, Plaintiffs shall submit

    any comments concerning the Guidance Memorandum to this

    Court. Plaintiffs shall attach a copy of Defendants’

    proposed      Guidance      Memorandum       containing      any   of

    Plaintiffs’ suggested edits in track changes.

  9. Within 7 days of the date of an Order of this Court

    approving the Guidance Memorandum, USPS shall certify to

    this Court whether all USPS managerial staff members

    have   certified     that     they    have   read,   reviewed,     and

    understand the Guidance Memorandum; to the extent any

    managerial staff member has not yet certified that they

    have      read,   reviewed,    and     understand      the   Guidance

    Memorandum, USPS shall describe each attempt it has made

    to contact the relevant managerial staff member.



SO ORDERED.

Dated:     New York, New York
           21 September 2020


                                        ___________________________
                                               Victor Marrero
                                                 U.S.D.J.


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